       Case 1:22-cv-00983-VEC                 Document 298    Filed 11/05/24        Page 1 of 31




U NI T E D S T A T E S DI S T RI C T C O U R T
S O U T H E R N DI S T RI C T O F N E W Y O R K

NI K E, I N C. ,

                                 Pl ai ntiff,

                   v.                                                    N o. 2 2 C V 9 8 3 ( V E C) ( S N)

S T O C K X L L C,

                                 D ef e n d a nt.




       D E F E N D A N T S T O C K X L L C’ S M E M O R A N D U M O F L A W I N S U P P O R T O F
                     I T S M O TI O N F O R P A R TI A L S U M M A R Y J U D G M E N T
          Case 1:22-cv-00983-VEC                           Document 298                    Filed 11/05/24                Page 2 of 31




                                                       T A B L E OF C O N T E N TS
                                                                                                                                                  P a ge
T A B L E O F A U T H O RI TI E S .......................................................................................................... ii

P R E LI MI N A R Y S T A T E M E N T ..................................................................................................... 1

F A C T U A L B A C K G R O U N D .......................................................................................................... 3

   I.        Ni k e a n d St o c k X P arti ci p at e i n Disti n ct M ar k ets. ............................................................... 3

   II.      St o c k X’s O nli n e R es al e M ar k et pl a c e. ................................................................................. 4

   III.     T h e D e v el o p m e nt of St o c k X’s A ut h e nti c ati o n Pr o c ess t o C o m b at t h e Pr e v al e n c e of
           C o u nt erf eit S n e a k ers ............................................................................................................ 6

   I V. St o c k X’s S ur v e y of t h e Eff e ct of t h e C h all e n g e d Cl ai ms o n P ur c h asi n g I nt e nt. ................ 8

   V.      Ot h er R es al e Pl atf or ms’ A ut h e nti c ati o n Eff orts .................................................................. 9

A R G U M E N T ................................................................................................................................... 9

   I.       L e g al St a n d ar d. .................................................................................................................... 9

   II.      St o c k X Is E ntitl e d t o P arti al S u m m ar y J u d g m e nt B e c a us e Its A ut h e nti c ati o n Pr o c ess
           Cl ai ms W er e Tr u e. ............................................................................................................. 1 0

           A.      T h e A ut h e nti c ati o n Pr o c ess Cl ai ms W er e N ot Lit er all y F als e. ................................ 1 2

           B.       T h e A ut h e nti c ati o n Pr o c ess Cl ai ms W er e N ot I m pli e dl y F als e. .............................. 1 5

   III.     T h er e Is N o E vi d e n c e St o c k X’s C h all e n g e d Cl ai ms W er e M at eri al t o C o ns u m ers.......... 1 6

           A.       M at eri alit y C a n n ot B e Pr es u m e d U n d er S e c o n d Cir c uit L a w. ................................. 1 7

           B.      St o c k X’s C h all e n g e d Cl ai ms W er e N ot M at eri al. .................................................... 1 7

   I V.      N o n e of St o c k X’s A d v ertisi n g C a us e d A n y I nj ur y t o Ni k e. ............................................. 2 1

           A.       Ni k e is n ot e ntitl e d t o a pr es u m pti o n of i nj ur y. ........................................................ 2 2

           B.       Ni k e c a n n ot pr o v e a ct u al i nj ur y. ............................................................................... 2 3

C O N C L U SI O N.............................................................................................................................. 2 5
          Case 1:22-cv-00983-VEC                          Document 298                  Filed 11/05/24               Page 3 of 31




                                                  T A B L E O F A U T H O RI TI E S

C as es

   A M G e n. L L C v. A cti visi o n Blizz ar d, I n c. ,
4 5 0 F. S u p p. 3 d 4 6 7 ( S. D. N. Y. 2 0 2 0)........................................................................................... 1 2

   A p ot e x I n c. v. A c or d a T h er a p e uti cs, I n c. ,
8 2 3 F. 3 d 5 1 ( 2 d Cir. 2 0 1 6)...................................................................................................... 1 6, 1 7

   A p ot e x I n c. v. A c or d a T h er a p e uti cs, I n c. ,
N o. 1 1- 8 8 0 3, 2 0 1 4 W L 5 4 6 2 5 4 7 ( S. D. N. Y. O ct. 2 3, 2 0 1 4),
aff’ d, 8 2 3 F. 3 d 5 1 ( 2 d Cir. 2 0 1 6)........................................................................................... p assi m

   A vis R e nt A C ar S ys., I n c. v. H ertz C or p. ,
7 8 2 F. 2 d 3 8 1 ( 2 d Cir. 1 9 8 6).......................................................................................................... 1 1

   C h ur c h & D wi g ht C o. v. S P D S wiss Pr e cisi o n Di a g n osti cs, G m B H ,
8 4 3 F. 3 d 4 8 ( 2 d Cir. 2 0 1 6)..................................................................................................... p assi m

   CI L P Ass o cs., L. P. v. Pri c e W at er h o us e C o o p ers L L P ,
7 3 5 F. 3 d 1 1 4 ( 2 d Cir. 2 0 1 3).......................................................................................................... 1 0

   C J Pr o d. L L C v. S n u g gl y Pl us h ez L L C ,
8 0 9 F. S u p p. 2 d 1 2 7 ( E. D. N. Y. 2 0 1 1) .......................................................................................... 1 7

   C o p p ol a v. B e ar St e ar ns & C o. ,
4 9 9 F. 3 d 1 4 4 ( 2 d Cir. 2 0 0 7)............................................................................................................ 9

   D e p e n d a bl e S al es & S er vi c e, I n c. v. Tr u e C ar, I n c. ,
3 9 4 F. S u p p. 3 d 3 6 8 ( S. D. N. Y. 2 0 1 9)............................................................................... 2 1, 2 3, 2 5

   E nz y m ot e c Lt d. v. N B T Y, I n c. ,
7 5 4 F. S u p p. 2 d 5 2 7 ( E. D. N. Y. 2 0 1 0) .......................................................................................... 2 2

   Fis c h er v. F orr est ,
2 8 6 F. S u p p. 3 d 5 9 0 ( S. D. N. Y. 2 0 1 8), aff’ d , 9 6 8 F. 3 d 2 1 6 ( 2 d Cir. 2 0 2 0) .................................. 1 3

   G a m e ol o gist Gr p., L L C v. S ci. G a m es I nt’l, I n c .,
8 3 8 F. S u p p. 2 d 1 4 1 ( S. D. N. Y. 2 0 1 1),
aff’ d , 5 0 8 F. A p p’ x 3 1 ( 2 d Cir. 2 0 1 3)........................................................................................... 1 1

   H ol c o m b v. I o n a C oll. ,
5 2 1 F. 3 d 1 3 0 ( 2 d Cir. 2 0 0 8)............................................................................................................ 9

   J o h ns o n & J o h ns o n v. C art er- W all a c e, I n c. ,
6 3 1 F. 2 d 1 8 6 ( 2 d Cir. 1 9 8 0).......................................................................................................... 2 2



                                                                         ii
         Case 1:22-cv-00983-VEC                            Document 298                  Filed 11/05/24                Page 4 of 31




   J o h ns o n & J o h ns o n Visi o n C ar e, I n c. v. Ci b a Visi o n C or p. ,
3 4 8 F. S u p p. 2 d 1 6 5 ( S. D. N. Y. 2 0 0 4)........................................................................................... 1 5

   L e x m ar k I nt’l, I n c. v. St ati c C o ntr ol C o m p o n e nts, I n c. ,
5 7 2 U. S. 1 1 8 ( 2 0 1 4)...................................................................................................................... 2 1

   M ats us hit a El e c. I n d us. C o., Lt d. v. Z e nit h R a di o C or p. ,
4 7 5 U. S. 5 7 4 ( 1 9 8 6)...................................................................................................................... 1 0

   M c N eil a b, I n c. v. A m. H o m e Pr o ds. C or p. ,
8 4 8 F. 2 d 3 4 ( 2 d Cir. 1 9 8 8)............................................................................................................ 2 2

   M e disi m Lt d. v. B est M e d L L C ,
9 1 0 F. S u p p. 2 d 5 9 1 ( S. D. N. Y. 2 0 1 2)........................................................................................... 1 7

   N at’l B as k et b all Ass’ n v. M ot or ol a, I n c. ,
1 0 5 F. 3 d 8 4 1 ( 2 d Cir. 1 9 9 7).......................................................................................................... 1 6

   Ort h o P h ar m. C or p. v. C os pr o p h ar, I n c. ,
3 2 F. 3 d 6 9 0 ( 2 d Cir. 1 9 9 4)............................................................................................................ 2 2

   P D K L a bs, I n c. v. Fri e dl a n d er ,
1 0 3 F. 3 d 1 1 0 5 ( 2 d Cir. 1 9 9 7)........................................................................................................ 2 3

   R e e d C o nst. D at a I n c. v. M c Gr a w- Hill C os., I n c. ,
4 9 F. S u p p. 3 d 3 8 5 ( S. D. N. Y. 2 0 1 4), aff’ d , 6 3 8 F. A p p’ x 4 3 ( 2 d Cir. 2 0 1 6)........................ p assi m

   R es. D e v s., I n c. v. St at u e of Li b ert y- Ellis Isl a n d F o u n d ., I n c.,
9 2 6 F . 2 d 1 3 4 ( 2 d Cir. 1 9 9 1).......................................................................................................... 1 6

   R e x all S u n d o w n, I n c. v. P erri g o C o .,
6 5 1 F. S u p p. 2 d 9 ( E. D. N. Y. 2 0 0 9) .................................................................................. 1 4, 1 5, 1 6

   Ri v er Li g ht V, L. P. v. T a n a k a ,
N o. 1 7- 2 2 8 4 3, 2 0 1 8 W L 5 7 7 8 2 3 4 ( S. D. Fl a. N o v. 2, 2 0 1 8) ........................................................ 1 7

   R os e ns hi n e v. A. M es hi C os ms. I n d us. Lt d. ,
N o. 1 8- 3 5 7 2, 2 0 2 3 W L 6 5 1 6 9 9 4 ( E. D. N. Y. O ct. 4, 2 0 2 3)........................................................... 1 6

   S al a h u d di n v. G o or d ,
4 6 7 F. 3 d 2 6 3 ( 2 d Cir. 2 0 0 6).......................................................................................................... 1 0

   S o ur c e O n e D e nt al, I n c. v. P att ers o n C os., I n c. ,
3 2 8 F. S u p p. 3 d 5 3 ( E. D. N. Y. 2 0 1 8) ...................................................................................... 1 8, 1 9

   S o uz a v. E x oti c Isl a n d E nt ers., I n c. ,
6 8 F. 4t h 9 9 ( 2 d Cir. 2 0 2 3) ........................................................................................................... 2 4




                                                                         iii
        Case 1:22-cv-00983-VEC                           Document 298                   Filed 11/05/24               Page 5 of 31




St at ut es

  F e d. R. Ci v. P. 5 6 ......................................................................................................................... 9




                                                                        iv
         Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24              Page 6 of 31




           D ef e n d a nt St o c k X L L C ( “ St o c k X ”) r es p e ctf ull y s u b mits t his m e m or a n d u m of l a w i n

s u p p ort of its m oti o n f or p arti al s u m m ar y j u d g m e nt dis missi n g t h e f als e a d v ertisi n g cl ai m of

Pl ai ntiff Ni k e, I n c. ( “ Ni k e ”) fr o m t his c as e.

                                              P R E LI MI N A R Y S T A T E M E N T

           St o c k X is a r es al e m ar k et pl a c e, f o u n d e d i n 2 0 1 5 t o cr e at e a s af e a n d effi ci e nt o utl et f or

c o ns u m ers t o tr a d e s n e a k ers a n d ot h er c oll e cti bl es – “ a st o c k m ar k et f or t hi n gs. ” T h e r es al e

m ar k et is s e p ar at e a n d disti n ct fr o m t h e “ pri m ar y m ar k et, ” i n w hi c h c o ns u m ers b u y s n e a k ers

dir e ctl y fr o m m a n uf a ct ur ers, li k e Ni k e.     W h e n m a n uf a ct ur ers cr e at e artifi ci al s c ar cit y b y s elli n g

f ar f e w er pr o d u cts t h a n n e c ess ar y t o m e et c o ns u m er d e m a n d, or r el e asi n g pr o d u cts i n li mit e d

wi n d o ws or g e o gr a p hi es, r es al e m ar k et pl a c es h el p c o ns u m ers a c c ess t h os e i n- d e m a n d g o o ds.

           Hist ori c all y, t h e r es al e e x p eri e n c e w as u nf ort u n at el y l ar g el y u n m o nit or e d. R es al e

m ar k et pl a c es t h at c a m e b ef or e St o c k X, li k e Cr ai gslist, off er e d c o ns u m ers littl e pr ot e cti o n a g ai nst

fr a u d b y b u y ers or s ell ers, w h o mi g ht d eli v er t h e wr o n g it e m or f ail t o p a y. T h e y als o utili z e d

f e at ur es, li k e s e p ar at e listi n g p a g es f or e a c h s ell er’s pr o d u cts, t h at w er e diffi c ult a n d

c u m b ers o m e t o us e. A c o ns u m er s e ar c hi n g f or a p arti c ul ar s n e a k er o n e B a y mi g ht b e c o nfr o nt e d

wit h h u n dr e ds of diff er e nt listi n gs, u n cl e ar p h ot os t a k e n b y e a c h s ell er, a n d n o s e ns e of w h at

pri c e is f air.

           St o c k X i m pr o v e d t h e r es al e e x p eri e n c e b y pr o vi di n g c o ns u m ers wit h a n u m b er of k e y

i n n o v ati o ns. St o c k X’s pl atf or m h as str e a mli n e d pr o d u ct p a g es, w h er e b u y ers a n d s ell ers

i nt er est e d i n a p arti c ul ar pr o d u ct c a n fi n d t h e m ost c o m p etiti v e bi d a n d off er pri c es o n a si n gl e

p a g e, al o n g wit h cl e ar pr o d u ct p h ot os a n d e xt e nsi v e hist ori c al pri ci n g d at a. I n a d diti o n t o t his

si m plifi e d us er e x p eri e n c e, c o ns u m ers b u y or s ell pr o d u cts k n o wi n g t h at St o c k X will v erif y

p a y m e nt a n d p h ysi c all y i ns p e ct e v er y it e m s ol d, s u c h t h at c o ns u m ers c a n tr ust t h at St o c k X



                                                                      1
         Case 1:22-cv-00983-VEC                         Document 298                Filed 11/05/24              Page 7 of 31




st a n ds b e hi n d e v er y pr o d u ct t h e y r e c ei v e. St o c k X h as al w a ys g u ar a nt e e d t o its c ust o m ers t h at if

t h e y d o n ot g et t h e pr o d u ct t h e y i nt e n d e d t o p ur c h as e, St o c k X will pr o vi d e a f ull r ef u n d.

           F oll o wi n g St o c k X’s l e a d, a n e w er gr o u p of o nli n e r es al e m ar k et pl a c es h a v e e nt er e d t h e

m ar k et, off eri n g str e a mli n e d pr o d u ct p a g es, i ns p e cti o ns of r es ol d pr o d u cts, a n d a ut h e nti cit y

g u ar a nt e es. St o c k X c o m p et es wit h t h es e ot h er r es al e m ar k et pl a c es, as w ell as ol d er r es al e

m ar k et pl a c es t h at off er c o ns u m ers f e w er pr ot e cti o ns. St o c k X b eli e v es t h at c o ns u m ers usi n g

o nli n e r es al e m ar k et pl a c es b e n efit fr o m h a vi n g a n i nt er m e di ar y w or ki n g t o pr ot e ct e v er y

tr a ns a cti o n. St o c k X’s a d v ertisi n g a n d w e bsit e h a v e l o n g pr o vi d e d c o ns u m ers wit h e xt e nsi v e,

d et ail e d i nf or m ati o n o n St o c k X’s pr o c ess a n d w h at c o ns u m ers c a n e x p e ct w h e n b u yi n g a n d

s elli n g o n St o c k X. As p art of t h at a d v ertisi n g, St o c k X h as als o t ol d c o ns u m ers t h at its pr o c ess of

i ns p e cti n g pr o d u cts is r o b ust, b ut n ot fl a wl ess, a n d if St o c k X m a k es a mist a k e, i n cl u di n g i n

f aili n g t o c at c h a c o u nt erf eit pr o d u ct, St o c k X h as al w a ys g u ar a nt e e d c ust o m ers t h e y c a n r et ur n

t h eir pr o d u ct t o St o c k X f or a f ull r ef u n d, e v e n t h o u g h St o c k X j ust o p er at es t h e pl atf or m a n d w as

n ot t h e ori gi n al s ell er of t h e pr o d u ct.   W hil e s e v er al c o m p eti n g r es al e m ar k et pl a c es off er si mil ar

a ut h e nti cit y g u ar a nt e es, ot h ers off er c o ns u m ers l ess pr ot e cti o n – or n o n e at all. T his

n ot wit hst a n di n g, Ni k e h as all e g e d t h at St o c k X, p arti c ul arl y, is s o m e h o w f als el y a d v ertisi n g or

misr e pr es e nti n g t h e s er vi c es it off ers t o c o ns u m ers w h o us e its pl atf or m.

           Ni k e’s f als e a d v ertisi n g cl ai m i n t his c as e c h all e n g es n u m er o us cl ai ms St o c k X h as m a d e

a b o ut its r es al e pl atf or m (t h e “ C h all e n g e d Cl ai ms ”). T h e C h all e n g e d Cl ai ms f all i nt o t w o

c at e g ori es: ( 1) St o c k X’s d es cri pti o ns of its pr o c ess f or a ut h e nti c ati n g pr o d u cts (t h e

“ A ut h e nti c ati o n Pr o c ess Cl ai ms ”); a n d ( 2) St o c k X’s l o n gst a n di n g g u ar a nt e e t h at pr o d u cts o n its

pl atf or m will b e a ut h e nti c, or St o c k X will pr o vi d e a f ull r ef u n d (t h e “ A ut h e nti cit y Cl ai ms ”).




                                                                      2
         Case 1:22-cv-00983-VEC                        Document 298                 Filed 11/05/24               Page 8 of 31




           Ni k e’s cl ai m f ails, i n w h ol e or i n p art, f or t hr e e i n d e p e n d e nt r e as o ns. First , Ni k e h as n o

e vi d e n c e t o est a blis h t h at St o c k X’s A ut h e nti c ati o n Pr o c ess Cl ai ms w er e f als e. T h e u n dis p ut e d

r e c or d est a blis h es St o c k X a c c ur at el y d es cri b e d h o w it e x a mi n e d t h e pr o d u cts s ol d t hr o u g h its

pl atf or m, a n d t h es e cl ai ms s h o ul d b e r e m o v e d fr o m t h e c as e f or t his r e as o n al o n e. S e c o n d , t h er e

is n o e vi d e n c e t h at a n y of St o c k X’s C h all e n g e d Cl ai ms w er e m at eri al t o c o ns u m ers. T o t h e

c o ntr ar y, St o c k X’s s ur v e y s h o ws t h at c o ns u m ers’ i nt e nt t o us e t h e pl atf or m w as u n c h a n g e d w h e n

t h e C h all e n g e d Cl ai ms w er e r e m o v e d, a n d Ni k e c a n n ot p oi nt t o a n y r e c or d e vi d e n c e r e b utti n g

t his f a ct. T hir d , Ni k e h as n o e vi d e n c e t h at it w as a ct u all y, or e v e n li k el y, i nj ur e d b y a n y of

St o c k X’s C h all e n g e d Cl ai ms. N o n e of t h e C h all e n g e d Cl ai ms m a d e c o m p ar ati v e cl ai ms a b o ut

s h o es Ni k e w as s elli n g. A n d Ni k e’s c or p or at e r e pr es e nt ati v e



           Ni k e’s f als e a d v ertisi n g cl ai m s h o ul d a c c or di n gl y b e dis miss e d.

                                                F A CT U AL B A C K G R O U N D

I.          Ni k e a n d St o c k X P a rti ci p at e i n Disti n ct M a r k ets.

           S n e a k ers ar e e m b e d d e d i n f as hi o n a n d p o p ul ar c ult ur e, wit h e v er- gr o wi n g a p p e al a n d

p o p ul arit y. 5 6. 1 ¶ ¶ 3 9 1, 4 0 5. 1    C o ns u m ers p ur c h as e s n e a k ers f or m a n y diff er e nt r e as o ns: t o

c oll e ct, dis pl a y, or w e ar t h e m; t o s er v e as a n i n v est m e nt; or t o e m ul at e or r e m e m b er a p ers o n or

m o v e m e nt. 5 6. 1 ¶ 4 0 7. Br a n ds, li k e Ni k e, oft e n r el e as e s n e a k ers as “li mit e d r el e as es ” or

“ dr o ps ” of s c ar c e q u a ntiti es of a p arti c ul ar s n e a k er t h at f u el c o ns u m er d e m a n d a n d h y p e. 5 6. 1 ¶ ¶

3 9 1 – 9 5, 4 0 0 – 0 2. I n cr e as e d c o ns u m er d e m a n d ( dri v e n i n p art b y b usi n ess m o d els b uilt o n

s c ar cit y), br a n d m ar k eti n g, a n d t h e gr e at er a c c essi bilit y of pr o d u cts o n t h e I nt er n et h a v e

c o ntri b ut e d t o t h e ris e i n s n e a k er p o p ul arit y. 5 6. 1 ¶ ¶ 3 9 6 – 9 7, 4 0 3 – 0 4. Al o n gsi d e t h at risi n g

1
        Cit ati o ns t o “ 5 6. 1 ” r ef er t o t h e P arti es’ C o ns oli d at e d 5 6. 1 fil e d p urs u a nt t o t h e C o urt’s
      O ct o b er 3 1, 2 0 2 4 Or d er ( D kt. N o. 2 9 3).



                                                                      3
         Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24               Page 9 of 31




p o p ul arit y, t h e “s n e a k er h e a d ” e m er g e d: a c o ns u m er “ wit h a d e e p p assi o n f or b u yi n g, c oll e cti n g,

tr a di n g, a n d/ or l e ar ni n g a b o ut s n e a k ers. ” 5 6. 1 ¶ ¶ 4 0 5 – 0 8.

           Wit h gr o wi n g h y p e a n d d e m a n d f or s n e a k ers, a t hri vi n g s n e a k er r es al e ( or “s e c o n d ar y ”)

m ar k et h as d e v el o p e d. 5 6. 1 ¶ ¶ 3 9 7, 4 0 3 – 1 4, 4 7 7 – 8 7, 4 5 8 – 6 6. T his b o o mi n g i n d ustr y is

c o m pris e d of r es al e m ar k et pl a c es “t h at e n a bl e[] s al es of pr o d u ct aft er t h e first s al e t o . . . m at c h

s u p pl y a n d d e m a n d. ” 5 6. 1 ¶ 3 9 9. T his r es al e m ar k et h as b e e n f u el e d b y e as y, o nli n e a c c ess t o

s n e a k ers a n d is w ort h billi o ns of d oll ars. 5 6. 1 ¶ ¶ 4 8 3 – 8 7. T h e r es al e m ar k et h as d e m o nstr at e d

c o nti n u e d gr o wt h: it gr e w 1 0 0 % fr o m 2 0 2 0 t o 2 0 2 2 a n d w as “li k el y gr o wi n g 3 0 % t o 4 0 % [ y e ar

o v er y e ar] i n 2 0 2 2. ” 5 6. 1 ¶ 4 8 3.

           St o c k X is o n e of m a n y o nli n e r es al e m ar k et pl a c es w h er e c o ns u m ers c a n b u y, s ell, a n d

tr a d e s n e a k ers. 5 6. 1 ¶ ¶ 4 1 5, 4 7 7. Ot h ers i n cl u d e e B a y, F a c e b o o k M ar k et pl a c e, Fli g ht Cl u b,

G O A T, St a di u m G o o ds, T h e R e al R e al, Tr a d es y, t hr e d U P, D e p o p, P os h m ar k, Gr ail e d, B u m p,

I nst a gr a m, RI F L A, a n d S ol e S u pr e m a c y. 5 6. 1 ¶ ¶ 4 7 8 – 8 2.

           Ni k e                                                                                                                          and

h as n e v er off er e d a r es al e pl atf or m t o c o ns u m ers. 5 6. 1 ¶ ¶ 6 6 7 – 6 7 6, 6 8 1.

II.        St o c k X’s O nli n e R es al e M a r k et pl a c e.

           F o u n d e d i n 2 0 1 6, St o c k X ori gi n at e d fr o m a “s n e a k er h e a d d at a c o m p a n y ” c all e d

C a m pl ess, t h at pr o vi d e d r es al e d at a f or i n di vi d u als i n v esti n g i n s n e a k ers. 5 6. 1 ¶ ¶ 4 0 9 – 1 4.

B uil di n g off C a m pl ess’ d at a- dri v e n i nsi g ht i nt o t h e v ol atilit y of s n e a k er pri c es, St o c k X tr e at e d

s n e a k ers as a ki n t o st o c ks, pr o vi di n g c o ns u m ers wit h r es al e d at a a n d t h e i nfr astr u ct ur e f or

tr a di n g p urs u a nt t o a bi d- as k m o d el. 5 6. 1 ¶ 4 1 6.         Wit h d at a tr a ns p ar e n c y, St o c k X s o u g ht t o

d e m o cr ati z e a c c ess t o f or m erl y el usi v e pr o d u cts a n d pr o vi d e c o ns u m ers wit h i nsi g ht i nt o

pr o d u cts’ tr u e v al u e. I d.




                                                                       4
         Case 1:22-cv-00983-VEC                        Document 298                 Filed 11/05/24               Page 10 of 31




           Si n c e its i n c e pti o n, St o c k X h as b e e n p o p ul ar a m o n g “s n e a k er h e a ds ” a n d s n e a k er

c oll e ct ors l o o ki n g t o a c q uir e el usi v e, hi g h- e n d s n e a k ers. 5 6. 1 ¶ ¶ 4 1 7 – 1 8. St o c k X a p p e als t o

t h os e c o ns u m ers wit h a h ost of v al u a bl e f e at ur es t h at e n h a n c e c o ns u m ers’ o nli n e r es al e

e x p eri e n c e. 5 6. 1 ¶ ¶ 4 2 0 – 2 2, 4 7 1 – 7 6. T h es e f e at ur es i n cl u d e:

          Pr o vi di n g a wi d e r a n g e of s n e a k ers a n d a p p ar el, i n cl u di n g u ni q u e, h ar d-t o-fi n d pr o d u cts.
           5 6. 1 ¶ ¶ 4 5 8 – 4 6 6, 4 6 7 – 4 7 0, 4 7 2 – 7 3.

          H osti n g a “ us er-fri e n dl y ” i nt erf a c e. 5 6. 1 ¶ ¶ 4 2 9 – 3 0, 4 6 6, 4 7 5, 6 2 9.

          C o ns oli d ati n g all i nf or m ati o n a n d tr a di n g o pti o ns f or a gi v e n pr o d u ct o n a si n gl e pr o d u ct
           p a g e, m a ki n g it e asi er f or c o ns u m ers t o s e ar c h a n d s e e all c urr e nt bi ds a n d as ks f or e a c h
           pr o d u ct, as c o m p ar e d t o r es al e pl atf or ms wit h m ulti pl e s ell er-s p e cifi c listi n g p a g es f or t h e
           s a m e pr o d u ct. 5 6. 1 ¶ 4 2 9.

          Pr o vi di n g d et ail e d hist ori c al pri c e d at a f or it e ms s ol d o n its pl atf or m s o t h at c o ns u m ers
           c a n e asil y u n d erst a n d tr e n ds a n d t h e c urr e nt m ar k et v al u e of pr o d u cts. 5 6. 1 ¶ ¶ 4 2 6 – 2 8.

          Usi n g a “ bi d or b u y pri ci n g m e c h a nis m i n w hi c h s ell ers p ost as ki n g pri c es a n d b u y ers
           m a y s u b mit bi ds or b u y fr o m t h e l o w est as ki n g pri c e. ” 5 6. 1 ¶ ¶ 4 3 0, 4 7 6 s e e als o 5 6. 1 ¶ ¶
           4 4 9 – 5 1 ( St o c k X c ust o m er st ati n g h e us es St o c k X o v er ot h er r es al e pl atf or ms b e c a us e h e
           “ pr ef er[s] t h e b u yi n g e x p eri e n c e ” of St o c k X, it is “ c h e a p er t o b u y o n St o c k X r el ati v e t o .
           . . ot h er pl atf or ms, ” St o c k X h as a b ett er “ a p p e x p eri e n c e, ” a n d St o c k X all o ws hi m t o “s et
           a bi d pri c e ” t h at t h e s ell er c a n c h o os e t o m at c h).

          Pr o vi di n g p ers o n ali z e d c ust o m er s u p p ort. 5 6. 1 ¶ ¶ 4 3 1, 4 5 2 – 5 5, 4 7 6; s e e als o 5 6. 1 ¶ 4 5 3
           ( St o c k X c ust o m er e x pl ai ni n g St o c k X’s c ust o m er s er vi c e is b ett er t h a n G O A T’s “ b y a
           mil e ”); 5 6. 1 ¶ 4 5 2 ( St o c k X c ust o m er e x pl ai ni n g a n ot h er b e n efit of usi n g St o c k X is t h e
           r es p o nsi v e c ust o m er s u p p ort).

          W or ki n g t o e ns ur e “t h at o nl y r eli a bl e b u y ers a n d s ell ers us e t h e pl atf or m ” b y s us p e n di n g
           t h e a c c o u nts of “s ell ers w h o r e p e at e dl y d o n ot c o m pl et e s al es or s e n d i n it e ms t h at f ail
           v erifi c ati o n. ” 5 6. 1 ¶ 4 3 2; s e e als o 5 6. 1 ¶ ¶ 4 3 3 – 4 4 0.

          T a ki n g v ari o us fr a u d- pr e v e nti o n m e as ur es, i n cl u di n g a n a nti-fr a u d v e n d or t h at m o nit ors
           s ell er pr ofil es a n d b e h a vi or p att er ns f or p ot e nti al fr a u d ul e nt a cti vit y, a n d ot h er v e n d ors
           w h o h el p e ns ur e t h e pl atf or m h as s e c ur e l o gi ns a n d p a y m e nt pr o c essi n g. 5 6. 1 ¶ ¶ 4 3 2 – 4 0.

R o y Ki m – a St o c k X c ust o m er n ot e m pl o y e d b y eit h er p art y w h o t estifi e d i n t his c as e – t estifi e d

t h at h e us es St o c k X b e c a us e of t h e c o m p etiti v e pri c es of pr o d u cts o n t h e St o c k X pl atf or m,

dis c o u nts St o c k X pr o vi d es, t h e s u p eri orit y of St o c k X’s c ust o m er s er vi c e t o t h at of ot h er r es al e



                                                                       5
        Case 1:22-cv-00983-VEC                          Document 298                  Filed 11/05/24               Page 11 of 31




m ar k et pl a c es, a n d t h e e n h a n c e d b u yi n g e x p eri e n c e cr e at e d t hr o u g h t h e bi d di n g m o d el St o c k X

e m br a c es. S e e 5 6. 1 ¶ ¶ 4 4 7 – 4 5 6. E v e n aft er r e c ei vi n g s o m e of t h e all e g e d c o u nt erf eits at iss u e i n

t his c as e ( a n d r e c ei vi n g r e q u est e d r ef u n ds f or t h os e pr o d u cts), Mr. Ki m c o nti n u e d t o p ur c h as e

s u bst a nti al n u m b ers of s n e a k ers fr o m St o c k X’s pl atf or m. 5 6. 1 ¶ 4 5 7.

III.        T h e D e v el o p m e nt of St o c k X’s A ut h e nti c ati o n P r o c ess t o C o m b at t h e P r e v al e n c e of
           C o u nt e rf eit S n e a k e rs.

           I n cr e as e d d e m a n d f or s n e a k ers h as b e e n a c c o m p a ni e d b y a n i n cr e as e i n c o u nt erf eits.

5 6. 1 ¶ ¶ 4 8 8 – 9 1. T h e q u alit y of c o u nt erf eits h as als o i m pr o v e d, m a ki n g t h e m diffi c ult t o d et e ct.

5 6. 1 ¶ ¶ 4 9 2 – 9 7. D es pit e t h at diffi c ult y, w or ki n g t o st o p c o u nt erf eit s al es b e n efits c o ns u m ers.

S e e 5 6. 1 ¶ 5 0 3 ( a gr e ei n g t h at “if t h er e’s a n o p p ort u nit y f or s o m e o n e t o r e m o v e a p ot e nti al

c o u nt erf eit g o o d fr o m t h e str e a m of c o m m er c e, ” t h at a ct is b e n efi ci al).

           St o c k X k e e nl y r e c o g ni z es t h e c h all e n g es ass o ci at e d wit h d et e cti n g c o u nt erf eits, a n d h as

n e v er s hi e d a w a y fr o m t h e m. 5 6. 1 ¶ ¶ 4 2 0 – 2 1. St o c k X pr o a cti v el y s u bj e cts all pr o d u cts s ol d

t hr o u g h its pl atf or m t o a d et ail e d, m ulti-st e p e x a mi n ati o n. 5 6. 1 ¶ ¶ 5 2 2, 5 4 3 – 5 3. F or e a c h p air of

s n e a k ers, tr ai n e d a ut h e nti c at ors a p pl y St o c k X’s st a n d ar ds t o v ari o us as p e cts of t h e s h o es t o

ass ess w h et h er t h e y ar e i n n e w, u n w or n c o n diti o n; h a v e n o s eri o us m a n uf a ct uri n g d ef e cts; a n d

a p p e ar t o b e g e n ui n e. S e e 5 6. 1 ¶ ¶ 5 2 3 – 2 9.

           St o c k X s u bj e ct e d e v er y p air of s n e a k ers s ol d t hr o u g h its pl atf or m t o its a ut h e nti c ati o n

pr o c ess. 5 6. 1 ¶ 5 2 2.       W h e n a b u y er p ur c h as es a p air of s n e a k ers, t h e s ell er m ust first s e n d t h e

s n e a k ers t o St o c k X. S e e i d.     O nl y aft er t h e s n e a k ers ar e i ns p e ct e d a n d d et er mi n e d t o m e et

S t o c k X’s a ut h e nti c ati o n st a n d ar ds ar e t h e y s e nt t o t h e b u y er. S e e 5 6. 1 ¶ 5 3 0.

           A s of 2 0 2 2, a p pr o xi m at el y 3 5 milli o n pr o d u cts h a d g o n e t hr o u g h St o c k X’s a ut h e nti c ati o n

pr o c ess; b et w e e n 2 0 1 6 a n d 2 0 2 2, St o c k X a ut h e nti c at ors f ail e d a n d r ej e ct e d o v er $ 4 0 0 milli o n

w ort h of pr o d u cts. S e e 5 6. 1 ¶ ¶ 5 3 3, 5 3 5; s e e als o 5 6. 1 ¶ ¶ 5 4 3, 5 3 6 – 3 9. St o c k X als o h as



                                                                        6
         Case 1:22-cv-00983-VEC                       Document 298                 Filed 11/05/24              Page 12 of 31




pr o c e d ur es t o m a k e b u y ers w h ol e if St o c k X d et er mi n es t h e y r e c ei v e d a c o u nt erf eit pr o d u ct –

i n cl u di n g p a yi n g f ull r ef u n ds ( e v e n t h o u g h St o c k X w as n ot t h e s ell er). 5 6. 1 ¶ ¶ 4 4 1 – 4 6.

          St o c k X h as a c c ur at el y, a n d pr o u dl y, c o m m u ni c at e d t h es e eff orts t o c o ns u m ers. 5 6. 1

¶ ¶ 5 7 6 – 7 8. Ni k e c h all e n g es t h e f oll o wi n g A ut h e nti c ati o n Pr o c ess Cl ai ms t h at St o c k X h as m a d e:

         “ E v er y it e m s ol d g o es t hr o u g h o ur pr o pri et ar y m ulti-st e p v erifi c ati o n pr o c ess wit h o ur
          t e a m of e x p ert a ut h e nti c at ors ”

         “ St o c k X[] [ h as a] “ m ulti-st e p v erifi c ati o n pr o c ess ”

         St o c k X’s a ut h e nti c ati o n pr o c ess us es “ 1 0 0 + d at a p oi nts ”

         St o c k X’s a ut h e nti c ati o n pr o c ess is “ pr o pri et ar y ”

         St o c k X’s a ut h e nti c ati o n pr o c ess us es “ A d v a n c e d T e c h n ol o g y ”

         St o c k X’s a ut h e nti c ati o n pr o c ess us es “ Q u alit y Ass ur a n c e ”

         “ St o c k X h as a 9 9. 9 6 % a ut h e nti c ati o n a c c ur a c y r at e ”

         “ A ut h e nti c at ors m ai nt ai n a 9 9. 9 6 % a c c ur a c y r at e. ”

Ni k e als o c h all e n g es t h e f oll o wi n g A ut h e nti cit y Cl ai ms:

         “ 1 0 0 % V erifi e d A ut h e nti c ”

         “ V erifi e d A ut h e nti c ”

         St o c k X “ a ut h e nti c at ors ar e b ett er e q ui p p e d t h a n a n y o n e t o e ns ur e a pr o d u ct’s
          a ut h e nti cit y ”

         “ G u ar a nt e e d A ut h e nti cit y ” as r el at e d t o pr o d u cts s ol d o n t h e St o c k X pl atf or m

           “ Al w a ys A ut h e nti c, N e v er F a k e. ”

         “ G u ar a nt e e d A ut h e nti cit y. E v er y it e m. E v er y ti m e. S h o p o n St o c k X wit h c o m pl et e
          c o nfi d e n c e k n o wi n g e v er y p ur c h as e is 1 0 0 % V erifi e d A ut h e nti c. ”

         “ A fi n al c h e c k i n o ur a ut h e nti c ati o n pr a cti c e, o ur Q A e x p erts e ns ur e n ot hi n g sli ps
          t hr o u g h t h e cr a c ks. ”

         “ W e A ut h e nti c at e E v er y It e m. E v er y Ti m e. ”




                                                                      7
           Case 1:22-cv-00983-VEC                        Document 298                 Filed 11/05/24              Page 13 of 31




            “ S h o p o n St o c k X wit h c o m pl et e c o nfi d e n c e k n o wi n g e v er y p ur c h as e is V erifi e d
             A ut h e nti c. ”

5 6. 1 ¶ ¶ 5 7 6 – 7 7.

I V.          St o c k X’s S u r v e y of t h e Eff e ct of t h e C h all e n g e d Cl ai ms o n P u r c h asi n g I nt e nt.

             St o c k X’s s ur v e y e x p ert s h o w e d t h at t h e C h all e n g e d Cl ai ms d o n ot i nfl u e n c e c o ns u m er

p ur c h asi n g d e cisi o ns. S ar a h B utl er c o n d u ct e d a s ur v e y e v al u ati n g c o ns u m ers’ i nt e nt t o s h o p o n

St o c k X. 5 6. 1 ¶ 6 1 4.        Ms. B utl er’s r es p o n d e nts w er e a r el e v a nt a n d t ar g et e d d e m o gr a p hi c: t h e y

h a d p ur c h as e d s n e a k ers fr o m St o c k X at l e ast o n c e si n c e 2 0 2 0, or w o ul d c o nsi d er p ur c h asi n g

s n e a k ers fr o m St o c k X i n t h e n e xt y e ar. 5 6. 1 ¶ 6 1 5.         Ms. B utl er s h o w e d r es p o n d e nts i n h er t est

gr o u p t h e C h all e n g e d Cl ai ms as c o ns u m ers w o ul d h a v e s e e n t h e m i n t h e m ar k et pl a c e. 5 6. 1 ¶

6 1 6. S h e s h o w e d h er c o ntr ol gr o u p t h e s a m e w e b p a g es, b ut wit h t h e C h all e n g e d Cl ai ms

r e pl a c e d wit h l a n g u a g e Ni k e d o es n ot cl ai m w o ul d b e f als e. 5 6. 1 ¶ 6 1 7.

             T h e r es ults of Ms. B utl er’s s ur v e y w er e u n e q ui v o c al: t h er e w as n o st atisti c all y si g nifi c a nt

c h a n g e i n c o ns u m ers’ i nt e nt t o p ur c h as e pr o d u cts o n St o c k X’s m ar k et pl a c e w h e n t h e C h all e n g e d

Cl ai ms w er e r e m o v e d. 5 6. 1 ¶ ¶ 6 1 8 – 2 4. A st atisti c all y e q ui v al e nt n u m b er of r es p o n d e nts w er e

li k el y t o us e St o c k X t o p ur c h as e s n e a k ers w h e n its w e b p a g es di d n ot i n cl u d e t h e C h all e n g e d

Cl ai ms as w h e n t h e w e b p a g es di d. 5 6. 1 ¶ 6 2 1.

             W h e n as k e d t o e x pl ai n w h at w as m oti v ati n g t h eir i nt e nt t o p ur c h as e fr o m St o c k X,

r es p o n d e nts pr o vi d e d a v ari et y of r es p o ns es u nr el at e d t o St o c k X’s cl ai ms, a n d u nr el at e d t o

a ut h e nti c ati o n or a ut h e nti cit y i n g e n er al. 5 6. 1 ¶ ¶ 6 2 4 – 3 1. R es p o ns es i n cl u d e d St o c k X’s “ w ell-

or g a ni z e d ” a n d “ us er-fri e n dl y ” i nt erf a c e; t h e wi d e r a n g e of s n e a k ers a n d a p p ar el a v ail a bl e o n

St o c k X; t h e “r e all y c o ol ” l o o k of t h e w e bsit e, its e as e of us e, a n d “ b ett er pri c e[s]. ” 5 6. 1 ¶ ¶ 6 2 4 –

3 0.       W hil e s o m e r es p o n d e nts di d m e nti o n a ut h e nti c ati o n g u ar a nt e es or “tr usti n g t h e sit e, ” t his

w as tr u e of r es p o ns es i n b ot h t h e c o ntr ol gr o u p a n d t h e t est gr o u p. 5 6. 1 ¶ 6 3 1. T his s u g g ests



                                                                         8
        Case 1:22-cv-00983-VEC                          Document 298                 Filed 11/05/24               Page 14 of 31




t h at a n y v al u e c o ns u m ers pl a c e i n St o c k X’s a ut h e nti c ati o n pr o c ess is n ot b as e d o n St o c k X’s

p arti c ul ar a d v ertisi n g cl ai ms at iss u e, b ut r at h er t h at St o c k X p h ysi c all y i ns p e cts e v er y it e m s ol d

o n its pl atf or m ( a pr o c ess Ni k e d o es n ot c h all e n g e or s e e k t o h alt i n t his c as e). S e e 5 6. 1 ¶ 5 2 2.

V.         Ot h e r R es al e Pl atf o r ms’ A ut h e nti c ati o n Eff o rts.

           Ms. B utl er’s r es ults ar e b uttr ess e d b y t h e f a ct t h at St o c k X’s C h all e n g e d Cl ai ms ar e b y n o

m e a ns u ni q u e, a n d t h er ef or e d o n ot diff er e nti at e St o c k X fr o m its c o m p etit ors i n t h e r es al e m ar k et

i n a m a n n er t h at mi g ht gi v e St o c k X a c o m p etiti v e a d v a nt a g e. S e e 5 6. 1 ¶ ¶ 5 0 4 – 2 1. Ot h er o nli n e

r es al e m ar k et pl a c es si mil arl y a ut h e nti c at e pr o d u cts a n d a d v ertis e t h os e eff orts t o c o ns u m ers. S e e

I d. e B a y pr o vi d es a n “A ut h e nti cit y G u ar a nt e e , ” st ati n g: “ Y o ur it e m is c ar ef ull y i ns p e ct e d i nsi d e

a n d o ut t o m a k e s ur e it’s a ut h e nti c an d m at c h es t h e listi n g. ” 5 6. 1 ¶ 5 1 6 ( e m p h asis a d d e d).

G O A T off ers a n “ Ass ur a n c e of A ut h e nti cit y. ” 5 6. 1 ¶ 5 0 7. Fli g ht Cl u b st at es t h at all of its

i n v e nt or y is “g u ar a nt e e d a ut h e nti c . ” 5 6. 1 ¶ 5 1 5 ( e m p h asis a d d e d). T h e R e al R e al pr o cl ai ms it

“ A ut h e nti c at e[s] E v er y It e m , ” a n d h as “t h e m ost ri g or o us a ut h e nti c ati o n pr o c ess i n t h e

m ar k et pl a c e. ” 5 6. 1 ¶ 5 1 7 ( e m p h asis a d d e d).

                                                              A R G U ME NT

I.          L e g al St a n d a r d.

           S u m m ar y j u d g m e nt is a p pr o pri at e w h e n “t h e m o v a nt s h o ws t h at t h er e is n o g e n ui n e

dis p ut e as t o a n y m at eri al f a ct a n d t h e m o v a nt is e ntitl e d t o j u d g m e nt as a m att er of l a w. ” F e d.

R. Ci v. P. 5 6( a). “ M at eri al f a cts ar e t h os e w hi c h ‘ mi g ht aff e ct t h e o ut c o m e of t h e s uit u n d er t h e

g o v er ni n g l a w,’ a n d a dis p ut e is ‘ g e n ui n e’ if ‘t h e e vi d e n c e is s u c h t h at a r e as o n a bl e [f a ctfi n d er]

c o ul d r et ur n a v er di ct f or t h e n o n m o vi n g p art y.’ ” C o p p ol a v. B e ar St e ar ns & C o. , 4 9 9 F. 3 d 1 4 4,

1 4 8 ( 2 d Cir. 2 0 0 7) ( cit ati o n o mitt e d). T h e m o vi n g p art y b e ars t h e i niti al b ur d e n of

d e m o nstr ati n g “t h e a bs e n c e of a g e n ui n e iss u e of m at eri al f a ct. ” H ol c o m b v. I o n a C oll. , 5 2 1

F. 3 d 1 3 0, 1 3 7 ( 2 d Cir. 2 0 0 8) ( cit ati o n o mitt e d). If t h e m o vi n g p art y d o es s o, “t h e b ur d e n s hifts


                                                                        9
        Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24               Page 15 of 31




t o t h e n o n m o v a nt t o p oi nt t o r e c or d e vi d e n c e cr e ati n g a g e n ui n e iss u e of m at eri al f a ct. ”

S al a h u d di n v. G o or d , 4 6 7 F. 3 d 2 6 3, 2 7 3 ( 2 d Cir. 2 0 0 6). T h e n o n- m o vi n g p art y m ust s h o w m or e

t h a n “s o m e m et a p h ysi c al d o u bt as t o t h e m at eri al f a cts. ” M ats us hit a El e c. I n d us. C o., Lt d. v.

Z e nit h R a di o C or p. , 4 7 5 U. S. 5 7 4, 5 8 6 ( 1 9 8 6). “[ W] h e n t h e b ur d e n of pr o of at tri al w o ul d f all

o n t h e n o n m o vi n g p art y, it or di n aril y is s uffi ci e nt f or t h e m o v a nt t o p oi nt t o a l a c k of e vi d e n c e t o

g o t o t h e tri er of f a ct o n a n ess e nti al el e m e nt of t h e n o n m o v a nt’s cl ai m, ” a n d t h e n “t h e

n o n m o vi n g p art y m ust c o m e f or w ar d wit h a d missi bl e e vi d e n c e s uffi ci e nt t o r ais e a g e n ui n e iss u e

of f a ct . . . t o a v oi d s u m m ar y j u d g m e nt. ” CI L P Ass o cs., L. P. v. Pri c e W at er h o us e C o o p ers L L P ,

7 3 5 F. 3 d 1 1 4, 1 2 3 ( 2 d Cir. 2 0 1 3).

           T o s u c c e e d o n its L a n h a m A ct f als e a d v ertisi n g cl ai m, Ni k e h as t h e b ur d e n t o pr o v e t h at

( 1) St o c k X’s st at e m e nts w er e f als e, eit h er lit er all y or i m pli e dl y; ( 2) St o c k X’s st at e m e nts w er e

m at eri al t o c o ns u m ers; ( 3) St o c k X pl a c e d its st at e m e nt i n i nt erst at e c o m m er c e ( w hi c h is n ot i n

dis p ut e); a n d ( 4) St o c k X’s st at e m e nts w er e t h e c a us e of a ct u al or li k el y i nj ur y t o Ni k e, eit h er b y

dir e ct di v ersi o n of s al es or b y a l ess e ni n g of g o o d will ass o ci at e d wit h its pr o d u cts. S e e C h ur c h

& D wi g ht C o. v. S P D S wiss Pr e cisi o n Di a g n osti cs, G m B H , 8 4 3 F. 3 d 4 8, 6 5 ( 2 d Cir. 2 0 1 6).

II.         St o c k X Is E ntitl e d t o P a rti al S u m m a r y J u d g m e nt B e c a us e Its A ut h e nti c ati o n
           P r o c ess Cl ai ms W e r e T r u e.

           Ni k e’s f als e a d v ertisi n g cl ai ms b as e d o n t h e A ut h e nti c ati o n Pr o c ess Cl ai ms f ail b e c a us e

Ni k e c a n n ot est a blis h f alsit y. “ T o pr e v ail o n a [f als e a d v ertisi n g] cl ai m, t h e pl ai ntiff m ust

‘s h o w[] t h at t h e c h all e n g e d a d v ertis e m e nt is f als e a n d misl e a di n g, n ot m er el y t h at it is

u ns u bst a nti at e d b y a c c e pt a bl e t ests or ot h er pr o of.’ ” A p ot e x I n c. v. A c or d a T h er a p e uti cs, I n c. ,

N o. 1 1- 8 8 0 3, 2 0 1 4 W L 5 4 6 2 5 4 7, at 2 ( S. D. N. Y. O ct. 2 3, 2 0 1 4), aff’ d , 8 2 3 F. 3 d 5 1 ( 2 d Cir.

2 0 1 6) . A pl ai ntiff m ust est a blis h t h at t h e c h all e n g e d a d v ertis e m e nt is eit h er “lit er all y f als e ” or




                                                                      10
        Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24               Page 16 of 31




“i m pli e dl y f als e. ” I d. ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt o n L a n h a m A ct f als e a d v ertisi n g

cl ai ms w h er e pl ai ntiff f ail e d t o est a blis h lit er al or i m pli e d f alsit y).

           T o est a blis h lit er al f alsit y, Ni k e m ust pr o v e t h e cl ai m is “f als e o n its f a c e . . . [ or], w h e n

‘ c o nsi d er e d i n c o nt e xt, t h e w or ds or i m a g es . . . n e c ess aril y i m pl y a f als e m ess a g e.’ ” R e e d

C o nst. D at a I n c. v. M c Gr a w- Hill C os., I n c. , 4 9 F. S u p p. 3 d 3 8 5, 4 1 1 – 1 3 ( S. D. N. Y. 2 0 1 4), aff’ d ,

6 3 8 F. A p p’ x 4 3 ( 2 d Cir. 2 0 1 6) ( pl ai ntiffs “f ail e d t o p ut f or w ar d a n y e vi d e n c e ” t h at cl ai ms w er e

lit er all y f als e i n c o nt e xt; gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt). A lit er all y f als e cl ai m m ust b e

u n a m bi g u o us, n ot “s us c e pti bl e t o m or e t h a n o n e r e as o n a bl e i nt er pr et ati o n. ” A p ot e x I n c. , 2 0 1 4

W L 5 4 6 2 5 4 7, at 2, 9 (i nt er n al q u ot ati o n o mitt e d) ( m ess a g e c o ul d n ot b e lit er all y f als e if it “ c o ul d

b e r e as o n a bl y i nt er pr et e d i n a n u m b er of alt er n ati v e w a ys ”). T h e a d v ertis e m e nt m ust b e r e a d “i n

its e ntir et y a n d n ot ... [] i n dis p ut ati o us diss e cti o n. T h e e ntir e m os ai c s h o ul d b e vi e w e d r at h er

t h a n e a c h til e s e p ar at el y. ” A vis R e nt A C ar S ys., I n c. v. H ertz C or p. , 7 8 2 F. 2 d 3 8 1, 3 8 5 ( 2 d Cir.

1 9 8 6) (i nt er n al q u ot ati o ns o mitt e d).

           T o est a blis h i m pli e d f alsit y, Ni k e m ust s h o w t h e c h all e n g e d st at e m e nt is “li k el y t o

misl e a d or c o nf us e c o ns u m ers, ” a n d m ust p ut f ort h “[ e] xtri nsi c e vi d e n c e ” of c o ns u m er

p er c e pti o n, “ or di n aril y [] i n t h e f or m of c o ns u m er s ur v e ys. ” A p ot e x I n c. , 2 0 1 4 W L 5 4 6 2 5 4 7 at

2 – 3, 1 0 ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt w h er e pl ai ntiffs “ pr o vi d e d n o e xtri nsi c e vi d e n c e

of c o ns u m er c o nf usi o n ” t o s u p p ort i m pli e d f alsit y); s e e als o G a m e ol o gist Gr p., L L C v. S ci.

G a m es I nt’l, I n c ., 8 3 8 F. S u p p. 2 d 1 4 1, 1 6 5 ( S. D. N. Y. 2 0 1 1), aff’ d , 5 0 8 F. A p p’ x 3 1 ( 2 d Cir.

2 0 1 3) ( “[ A] pl ai ntiff m ust pr o d u c e s o m e e xtri nsi c e vi d e n c e of s u c h c o ns u m er d e c e pti o n or

c o nf usi o n, e v e n at t h e s u m m ar y j u d g m e nt st a g e. ”). E xtri nsi c e vi d e n c e m ust s h o w t h at a




                                                                      11
        Case 1:22-cv-00983-VEC                         Document 298                  Filed 11/05/24               Page 17 of 31




“s u bst a nti al n u m b er of c o ns u m ers w er e, i n f a ct, c o nf us e d b y t h e all e g e dl y misl e a di n g

st at e m e nt. ” R e e d C o nst. D at a I n c. , 4 9 F. S u p p. 3 d at 4 1 6.2

           Ni k e h as f ail e d t o est a blis h t h at a n y of t h e A ut h e nti c ati o n Pr o c ess Cl ai ms w er e lit er all y

or i m pli e dl y f als e. E a c h of t h es e cl ai ms w as, i n f a ct, tr u e. As a r es ult, Ni k e’s cl ai ms b as e d o n

t h e A ut h e nti c ati o n Pr o c ess Cl ai ms s h o ul d b e dis miss e d. S e e A M G e n. L L C v. A cti visi o n

Blizz ar d, I n c. , 4 5 0 F. S u p p. 3 d 4 6 7, 4 8 7 ( S. D. N. Y. 2 0 2 0) ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt

w h er e “ n o n e of t h e a d v ertis e m e nts c o m pl ai n e d of b y [ p]l ai ntiffs . . . c o nt ai n[ e d] a lit er all y or

i m pli e dl y f als e st at e m e nt ”).

           A.         T h e A ut h e nti c ati o n P r o c ess Cl ai ms W e r e N ot Lit e r all y F als e.

           T h er e is n o e vi d e n c e i n t h e r e c or d fr o m w hi c h a r e as o n a bl e j ur or c o ul d c o n cl u d e t h e

A ut h e nti c ati o n Pr o c ess Cl ai ms w er e lit er all y f als e. 5 6. 1 ¶ ¶ 5 7 9 – 9 2. S e e R e e d C o nst. D at a I n c. ,

4 9 F. S u p p. 3 d at 4 1 7 ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt o n f als e a d v ertisi n g cl ai ms t h at n o

r e as o n a bl e j ur or c o ul d c o n cl u d e w er e lit er all y f als e); s e e als o A p ot e x I n c., 2 0 1 4 W L 5 4 6 2 5 4 7 at

7 ( “ Pl ai ntiffs’ e vi d e n c e m er el y s h o ws t h e c h all e n g e d st at e m e nts t o b e ‘ u ns u bst a nti at e d b y

a c c e pt a bl e t ests or ot h er pr o of. . . . Pl ai ntiffs c a n n ot pr o v e f alsit y b y s u c h e vi d e n c e al o n e.’ ”).

           St o c k X h as a “ pr o pri et ar y ” a ut h e nti c ati o n pr o c ess t o i ns p e ct e v er y it e m s ol d t hr o u g h

its pl atf or m. St o c k X h as al w a ys b e e n d e di c at e d t o c o m b atti n g c o u nt erf eiti n g a n d d e v el o p e d its

o w n a ut h e nti c ati o n pr o c ess. T h e pr o c ess is “ pr o pri et ar y ” b e c a us e it is St o c k X’s “ o w n w or k

pr o d u ct, ” c o nsisti n g of a u ni q u e c o m bi n ati o n of st e ps t h at St o c k X its elf s el e ct e d. 5 6. 1 ¶ ¶ 5 4 0 –




2
        O nl y i n t h e r ar e i nst a n c es i n w hi c h t h e pl ai ntiff h as est a blis h e d t h e d ef e n d a nt’s i nt e nt “t o
      d e c ei v e t h e p u bli c t hr o u g h d eli b er at e c o n d u ct of a n e gr e gi o us n at ur e ” h a v e c o urts a p pli e d a
      r e b utt a bl e pr es u m pti o n of c o nf usi o n. S e e C h ur c h & D wi g ht C o., I n c. , 8 4 3 F. 3 d at 6 5
      (i nt er n al q u ot ati o ns o mitt e d).



                                                                      12
        Case 1:22-cv-00983-VEC                          Document 298                  Filed 11/05/24               Page 18 of 31




4 2, 5 4 6 – 4 7. 3 E v e n if t h er e is a dis p ut e as t o t h e r es ults of a n y p arti c ul ar i ns p e cti o n, it is

u n dis p ut e d t h at e v er y pr o d u ct w e nt t hr o u g h t h e pr o c ess, as t h e A ut h e nti c ati o n Pr o c ess Cl ai ms

st at e. S e e Fis c h er v. F orr est , 2 8 6 F. S u p p. 3 d 5 9 0, 6 1 8 ( S. D. N. Y. 2 0 1 8), aff’ d , 9 6 8 F. 3 d 2 1 6 ( 2 d

Cir. 2 0 2 0) ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt o n lit er al f alsit y b e c a us e “ c o m e o ut wit h o ur

o w n ” d o es n ot “ u n a v oi d a bl y si g nif y t h at t h e pr o d u ct off er e d b y [li c e ns e e] w as cr e at e d i n t h e first

i nst a n c e b y [li c e ns e e] ”).

           St o c k X’s a ut h e nti c ati o n pr o c ess is “ m ulti-st e p, ” c o nsisti n g of “ 1 0 0 + d at a p oi nts. ”               As

ill ustr at e d b y t h e c o m p a n y’s “ S n e a k er A ut h e nti c ati o n St a n d ar d O p er ati n g Pr o c e d ur e, ” (t h e

“ S O P ”), St o c k X a ut h e nti c at ors t a k e m a n y st e ps t o e x a mi n e pr o d u cts s ol d t hr o u g h t h e pl atf or m.




                                                 S e e 5 6. 1 ¶ ¶ 5 4 3 – 5 3.



                                         S e e 5 6. 1 ¶ 5 4 5.

                                                           S e e 5 6. 1 ¶ ¶ 5 4 7 – 5 3, 5 4 9

                                                                   542



           St o c k X’s a ut h e nti c ati o n pr o c ess i n c or p or at es “ a d v a n c e d t e c h n ol o g y. ” F or e x a m pl e,

St o c k X us es pr o pri et ar y s oft w ar e                                                                       S e e 5 6. 1 ¶ 5 5 6.

St o c k X als o l e v er a g es m a c hi n e l e ar ni n g a n d artifi ci al i nt elli g e n c e t o e n h a n c e a n d s u p p ort its



3
        Ni k e h as all e g e d t h at St o c k X’s a ut h e nti c ati o n pr o c ess is n ot “ pr o pri et ar y ” b e c a us e “t h e
      pr o c ess its elf is o p e nl y dis pl a y e d i n a vi d e o f o u n d o n St o c k X’s w e bsit e. ” 5 6. 1 ¶ 5 4 0. W hil e
      s o m e p arts of t h e pr o c ess ar e dis cl os e d a n d d es cri b e d t o t h e p u bli c, St o c k X d o es n ot r e v e al
      m a n y of t h e d et ails of its pr o c ess. 5 6. 1 ¶ 5 4 2.



                                                                       13
        Case 1:22-cv-00983-VEC                         Document 298                  Filed 11/05/24              Page 19 of 31




a ut h e nti c ati o n pr o c ess. 5 6. 1 ¶ ¶ 5 5 4 – 5 9; s e e als o 5 6. 1 ¶ ¶ 5 5 5

                                                                                                               5 5 4 ( us e of AI).

           St o c k X r eli es o n its “ e x p ert a ut h e nti c at ors. ”        All St o c k X a ut h e nti c at ors u n d er g o a n

e xt e nsi v e tr ai ni n g pr o gr a m. S e e 5 6. 1 ¶ ¶ 5 6 0 – 6 5.

                                                  S e e 5 6. 1 ¶ 5 6 1.



                                                                                                 S e e R ul e 5 6. 1, ¶ ¶ 5 6 2 – 6 4.

           St o c k X’s a ut h e nti c ati o n pr o c ess i n cl u d es q u alit y ass ur a n c e.       St o c k X’s q u alit y c o ntr ol

tea m                                                                S e e 5 6. 1 ¶ ¶ 5 6 6 – 6 7. St o c k X e m pl o ys b ot h Q u alit y

Ass ur a n c e a n d A ut h e nti c ati o n Q u alit y Ass ur a n c e ( “ A Q A ”) s p e ci alists. S e e 5 6. 1 ¶ 5 6 8.



                                                                        S e e 5 6. 1 ¶ 5 6 9.



                                           5 6. 1 ¶ ¶ 5 7 0 – 7 1.

           St o c k X h a d a “ 9 9. 9 6 % a ut h e nti c ati o n a c c ur a c y r at e. ” As St o c k X e x pl ai n e d o n its

w e bsit e, t his fi g ur e is a tr u e “ m e as ur e m e nt of t h e a c c ur a c y of [ St o c k X’s] pl atf or m’s pr o d u ct

a ut h e nti c ati o n pr o c ess b as e d o n w ei g ht e d r et ur n d at a c o m p ar e d t o t ot al a ut h e nti c ati o ns. ” 5 6. 1

¶ ¶ 5 7 2, 5 7 4 – 7 5 ( e x pl ai ni n g t h at “ W e h a v e a 9 9. 9 6 % A c c ur a c y R at e; o nl y 0. 0 4 % of t h e pr o d u cts

w e p ass ar e l at er d et er mi n e d t o h a v e b e e n p ass e d i n err or ”). T h e w ei g ht e d r et ur n d at a i n cl u d e d

pr o d u cts t h at w er e p ass e d i n err or f or a n y r e as o n (li k e wr o n g si z e or c ol or); St o c k X’s a c c ur a c y

r at e as t o a ut h e nti cit y al o n e is hi g h er ( usi n g St o c k X’s a v ail a bl e d at a). 5 6. 1 ¶ 5 7 3. Ni k e h as n o

e vi d e n c e t h at t his cl ai m is f als e i n t h e c o nt e xt of St o c k X’s c o ns u m er-f a ci n g e x pl a n ati o n of h o w

t h e a c c ur a c y r at e w as c al c ul at e d. 5 6. 1 ¶ ¶ 5 8 7 – 9 2. S e e R e x all S u n d o w n, I n c. v. P erri g o C o ., 6 5 1




                                                                        14
        Case 1:22-cv-00983-VEC                          Document 298                 Filed 11/05/24               Page 20 of 31




F. S u p p. 2 d 9, 3 4 ( E. D. N. Y. 2 0 0 9) ( gr a nti n g s u m m ar y j u d g m e nt o n lit er al f alsit y, fi n di n g “ N o. 1

Dr. R e c o m m e n d e d J oi nt C ar e Br a n d ” w as lit er all y tr u e as e x pl ai n e d).

            T o t h e e xt e nt Ni k e ar g u es t h at t h e A ut h e nti c ati o n Pr o c ess Cl ai ms ar e s u bj e ct t o

alt er n ati v e i nt er pr et ati o ns t h a n t h os e s et f ort h a b o v e, a n y s u c h ar g u m e nt w o ul d ill ustr at e t h at t h e

cl ai ms ar e “s us c e pti bl e t o m or e t h a n o n e r e as o n a bl e i nt er pr et ati o n ” a n d t h er ef or e c a n n ot b e

lit er all y f als e. S e e A p ot e x I n c. , 2 0 1 4 W L 5 4 6 2 5 4 7 at 2, 8.

            B.        T h e A ut h e nti c ati o n P r o c ess Cl ai ms W e r e N ot I m pli e dl y F als e.

            Ni k e c a n n ot s u c c e e d b y cl ai mi n g t h at St o c k X’s A ut h e nti c ati o n Pr o c ess Cl ai ms w er e

i m pli e dl y f als e b e c a us e Ni k e h as n ot pr o vi d e d a n y e vi d e n c e ( 1) t h at c o ns u m ers u n d erst o o d t h e

st at e m e nts t o c o n v e y a misl e a di n g m ess a g e, s e e 5 6. 1 ¶ ¶ 5 7 9 – 9 2, or ( 2) t h at St o c k X p oss ess e d

a n y d eli b er at e, e gr e gi o us i nt e nt t o d e c ei v e c o ns u m ers. S e e A p ot e x I n c. , 2 0 1 4 W L 5 4 6 2 5 4 7 at 3,

1 0 ( d ef e n d a nts w er e e ntitl e d t o s u m m ar y j u d g m e nt b e c a us e ( 1) t h e c h all e n g e d a d v ertis e m e nt

c o ul d n ot b e lit er all y f als e a n d ( 2) pl ai ntiffs “ pr o vi d e d n o e xtri nsi c e vi d e n c e of c o ns u m er

c o nf usi o n ” t o pr o v e i m pli e d f alsit y); s e e als o R e x all S u n d o w n, I n c. , 6 5 1 F. S u p p. 2 d at 3 6

( “ C o urts r o uti n el y gr a nt s u m m ar y j u d g m e nt i n a d ef e n d a nt’s f a v or o n i m pli e d f alsit y cl ai ms

w h e n s u c h e xtri nsi c e vi d e n c e, us u all y i n t h e f or m of a c o ns u m er s ur v e y, is l a c ki n g. ”) ( c oll e cti n g

c as es).

            N ot o nl y di d Ni k e n ot c o n d u ct a c o ns u m er s ur v e y —t h e “ or di n ar y ” m et h o d of s h o wi n g

c o ns u m er c o nf usi o n, R e e d C o nst. D at a I n c. , 4 9 F. S u p p. 3 d at 4 1 6 —it als o f ail e d t o eli cit a n y

e vi d e n c e of a n y ki n d as t o h o w c o ns u m ers p er c ei v e d t h e A ut h e nti c ati o n Pr o c ess Cl ai ms. 5 6. 1 ¶ ¶

6 1 0, 5 7 9 – 9 2. S e e J o h ns o n & J o h ns o n Visi o n C ar e, I n c. v. Ci b a Visi o n C or p. , 3 4 8 F. S u p p. 2 d

1 6 5, 1 8 4 ( S. D. N. Y. 2 0 0 4) ( gr a nti n g j u d g m e nt f or d ef e n d a nt “ as Pl ai ntiff h as n eit h er i ntr o d u c e d

t h e r e q uisit e e xtri nsi c e vi d e n c e of c o ns u m er r e a cti o n s h o wi n g t h at [ d ef e n d a nt’s] pr o m oti o n al




                                                                       15
        Case 1:22-cv-00983-VEC                           Document 298                   Filed 11/05/24              Page 21 of 31




m at eri als t e n d t o misl e a d or c o nf us e t h e t ar g et a u di e n c e . . . n or a d e q u at el y d e m o nstr at e d t h at

[ d ef e n d a nt] h as i nt e nti o n all y tri e d t o d e c ei v e t h e p u bli c ”).

           N or h as Ni k e p ut f or w ar d a n y e vi d e n c e t h at St o c k X “i nt e n d e d t o d e c ei v e t h e p u bli c

t hr o u g h d eli b er at e c o n d u ct of a n e gr e gi o us n at ur e, ” a stri n g e nt s h o wi n g m a n d at or y a bs e nt

e xtri nsi c e vi d e n c e. C h ur c h & D wi g ht , 8 4 3 F. 3 d at 6 5 (i nt er n al q u ot ati o ns o mitt e d). Ni k e c a n n ot

r el y o n m er e “ c o n cl us or y st at e m e nt[s] ” or “s p e c ul ati o n a n d c o nj e ct ur e ” t o s h o w i nt e nti o n al

d e c e pti o n. R e x all S u n d o w n, I n c. , 6 5 1 F. S u p p. 2 d at 3 8 ( gr a nti n g d ef e n d a nt s u m m ar y j u d g m e nt;

a “ c o n cl us or y st at e m e nt is i ns uffi ci e nt t o s u p p ort a fi n di n g of i nt e nti o n al d e c e pti o n n e c ess ar y t o

cir c u m v e nt t h e r e q uir e m e nt of e xtri nsi c e vi d e n c e t h at t h e st at e m e nts ar e f als e or misl e a di n g ”);

R es. D e vs., I n c. v. St at u e of Li b ert y- Ellis Isl a n d F o u n d ., I n c., 9 2 6 F. 2 d 1 3 4, 1 4 1 ( 2 d Cir. 1 9 9 1)

(“ W e h a v e n ot h esit at e d t o affir m a s u m m ar y j u d g m e nt w h e n t h e o nl y pr o of pr off er e d i n

o p p ositi o n a m o u nts t o n ot hi n g m or e t h a n s p e c ul ati o n a n d c o nj e ct ur e. ”).

III.        T h e r e Is N o E vi d e n c e St o c k X’s C h all e n g e d Cl ai ms W e r e M at e ri al t o C o ns u m e rs.

           Ni k e’s e ntir e f als e a d v ertisi n g cl ai m als o f ails, s e p ar at el y a n d i n d e p e n d e ntl y, b e c a us e

Ni k e h as n ot off er e d a n y e vi d e n c e “s h o wi n g t h at t h e s p e cifi c misr e pr es e nt ati o n[s] . . . w[ er e]

li k el y t o i nfl u e n c e c o ns u m ers’ p ur c h asi n g d e cisi o ns. ” A p ot e x I n c. v. A c or d a T h er a p e uti cs, I n c. ,

8 2 3 F. 3 d 5 1, 6 8 ( 2 d Cir. 2 0 1 6). Ni k e h as n o e vi d e n c e t h at t h e all e g e d i n a c c ur a ci es i n a n y of

St o c k X’s C h all e n g e d Cl ai ms w er e “ m at eri al i n t h at [t h e y w er e] li k el y t o i nfl u e n c e p ur c h asi n g

d e cisi o ns. ” N at’l B as k et b all Ass’ n v. M ot or ol a, I n c. , 1 0 5 F. 3 d 8 4 1, 8 5 5 ( 2 d Cir. 1 9 9 7); A p ot e x

I n c., 8 2 3 F. 3 d at 6 7 ( affir mi n g s u m m ar y j u d g m e nt f or d ef e n d a nt w h er e pl ai ntiff pr o vi d e d “ n o

r e c or d e vi d e n c e ” t h at t h e all e g e d i n a c c ur a ci es i n d ef e n d a nt’s a d v ertisi n g w er e “li k el y t o

i nfl u e n c e c o ns u m ers’ p ur c h asi n g d e cisi o ns ”); R os e ns hi n e v. A. M es hi C os ms. I n d us. Lt d. , N o.

1 8- 3 5 7 2, 2 0 2 3 W L 6 5 1 6 9 9 4, at 8 ( E. D. N. Y. O ct. 4, 2 0 2 3) (s a m e).




                                                                         16
        Case 1:22-cv-00983-VEC                          Document 298                 Filed 11/05/24               Page 22 of 31




           A.          M at e ri alit y C a n n ot B e P r es u m e d U n d e r S e c o n d Ci r c uit L a w.

           T o t h e e xt e nt Ni k e ar g u es it is e ntitl e d t o a pr es u m pti o n of m at eri alit y f or c ert ai n

C h all e n g e d Cl ai ms, t h at ar g u m e nt f ails as a m att er of l a w. T his C o urt, i n a d e cisi o n affir m e d b y

t h e S e c o n d Cir c uit, c o nsi d er e d a n d dis miss e d t h e ar g u m e nt t h at pl ai ntiffs ar e n ot r e q uir e d t o

s h o w m at eri alit y f or f als e st at e m e nts c o n c er ni n g a n i n h er e nt q u alit y of t h e pr o d u ct at iss u e,

h ol di n g t h at “ alt h o u g h at l e ast p art of [ Pl ai ntiff’s] c a m p ai g n f o c us e d o n t h e q u alit y of t h e

[ pr o d u cts] q u a [ pr o d u cts], t h e C o urt m ust als o as k w h et h er t h es e c a m p ai g ns m at eri all y

i nfl u e n c e d c o ns u m ers’ p ur c h asi n g d e cisi o ns. ” R e e d C o nst. D at a I n c. , 4 9 F. S u p p. 3 d at 4 1 8

( e m p h asis a d d e d), aff’ d , 6 3 8 F. A p p’ x 4 3 ( 2 d Cir. 2 0 1 6); s e e als o C h ur c h & D wi g ht C o. , 8 4 3

F. 3 d at 7 0 n. 1 1 ( h ol di n g t h at t h e S e c o n d Cir c uit’s d e cisi o n i n A p ot e x “s ettl e d t h e m at eri alit y

st a n d ar d i n t his Cir c uit, e x pl ai ni n g t h at t h e st a n d ar d is w h et h er t h e d e c e pti o n is ‘li k el y t o

i nfl u e n c e p ur c h asi n g d e cisi o ns’ ”). T h e c as es Ni k e h as r ef er e n c e d i n s e e ki n g t o cl ai m a

pr es u m pti o n of m at eri alit y eit h er pr e d at e A p ot e x or ar e fr o m o ut- of- cir c uit distri ct c o urts n ot

b o u n d b y t h e h ol di n g i n A p ot e x . Cf. C J Pr o d. L L C v. S n u g gl y Pl us h ez L L C , 8 0 9 F. S u p p. 2 d 1 2 7

(E. D. N. Y. 2 0 1 1) ( pr e- A p ot e x ); Ri v er Li g ht V, L. P. v. T a n a k a , N o. 1 7- 2 2 8 4 3, 2 0 1 8 W L 5 7 7 8 2 3 4,

at 6 ( S. D. Fl a. N o v. 2, 2 0 1 8) ( o ut of Cir c uit).

           B.         St o c k X’s C h all e n g e d Cl ai ms W e r e N ot M at e ri al.

           Ni k e h as n o e vi d e n c e t o est a blis h m at eri alit y b e c a us e t h e C h all e n g e d Cl ai ms, i n pr o p er

c o nt e xt, di d n ot i nfl u e n c e c o ns u m ers’ c h oi c e t o us e St o c k X. 5 6. 1 ¶ ¶ 5 9 3 – 6 1 3. Ni k e di d n ot

s u b mit a n y c o ns u m er p er c e pti o n s ur v e y t o ass ess t h e m at eri alit y of t h e C h all e n g e d Cl ai ms. 5 6. 1

¶ ¶ 6 1 0 – 1 3. Ni k e h as n ot eli cit e d t h e t esti m o n y of a n y c o ns u m er w h o p ur c h as e d Ni k e pr o d u cts

o n St o c k X b e c a us e of St o c k X’s a d v ertisi n g cl ai ms. 5 6. 1 ¶ ¶ 4 4 8, 6 1 0 – 1 3. T h at is f at al t o Ni k e’s

cl ai m. S e e M e disi m Lt d. v. B est M e d L L C , 9 1 0 F. S u p p. 2 d 5 9 1, 6 1 8 ( S. D. N. Y. 2 0 1 2) ( gr a nti n g

d ef e n d a nt s u m m ar y j u d g m e nt o n f als e a d v ertisi n g cl ai m w h er e pl ai ntiff “ off er e d n o e vi d e n c e ”


                                                                       17
        Case 1:22-cv-00983-VEC                          Document 298                 Filed 11/05/24               Page 23 of 31




t h at c o ns u m ers ar e m or e li k el y t o p ur c h as e pr o d u cts wit h t h e f als e a d v ertisi n g t h a n wit h o ut a n d

“f ail e d t o pr o vi d e e vi d e n c e t h at [ pl ai ntiff’s] st at e m e nt is f als e i n a w a y t h at is li k el y t o i nfl u e n c e

c o ns u m er b e h a vi or ”); S o ur c e O n e D e nt al, I n c. v. P att ers o n C os., I n c. , 3 2 8 F. S u p p. 3 d 5 3, 6 5

( E. D. N. Y. 2 0 1 8) ( gr a nti n g s u m m ar y j u d g m e nt t o pl ai ntiff o n d ef e n d a nts’ f als e a d v ertisi n g

c o u nt er cl ai m w h er e d ef e n d a nts o nl y pr o vi d e d e vi d e n c e t h at c o ns u m ers f o u n d l o w er pri c e

s a vi n gs t o b e “i m p ort a nt, ” b ut ot h er wis e f ail e d t o d e m o nstr at e t h at pl ai ntiff’s “s p e cifi c

p er c e nt a g e-s a vi n gs cl ai ms (r at h er t h a n si g nifi c a nt, if l ess er s a vi n gs) w er e m at eri al t o t h os e

[ c o ns u m ers’] d e cisi o ns ”).

           D es pit e h a vi n g t h e b ur d e n of pr o of, Ni k e h as n o s ur v e y or c o ns u m er p er c e pti o n

t esti m o n y of its o w n, a n d q u esti o ni n g S ar a h B utl er’s s ur v e y m et h o d ol o g y al o n e c a n n ot pr o v e

m at eri alit y. S e e, e. g. , S o ur c e O n e D e nt al, I n c. 3 2 8 F. S u p p. 3 d at 6 5 ( at s u m m ar y j u d g m e nt, a

f als e a d v ertisi n g pl ai ntiff is t y pi c all y “r e q uir e d t o i ntr o d u c e s o m e f or m of e vi d e n c e – us u all y,

alt h o u g h n ot n e c ess aril y, s ur v e y e vi d e n c e or e x p ert t esti m o n y b as e d o n it – t o r ais e a f a ct u al

q u esti o n as t o w h et h er t h e diff er e nti al b et w e e n a d v ertis e d a n d a ct u al [i nf or m ati o n] w as m at eri al

i n t his m ar k et ”).     Ms. B utl er’s s ur v e y s h o ws t h at, e v e n if Ni k e w er e a bl e t o pr o v e t h at s o m e or all

of t h e C h all e n g e d Cl ai ms w er e f als e, n o n e w er e m at eri al. 5 6. 1 ¶ ¶ 6 1 4 – 3 1. S e e R e e d C o nst.

D at a I n c. , 6 3 8 F. A p p’ x at 4 5 ( affir mi n g s u m m ar y j u d g m e nt f or d ef e n d a nt o n f als e a d v ertisi n g

cl ai m w h er e c ert ai n st at e m e nts w er e “lit er all y f als e ” a n d ot h ers “ ar g u a bl y misl e a di n g ” b ut “ n o n e

of t h e st at e m e nts, i n di vi d u all y or i n t h e a g gr e g at e, w as m at eri al ”). C o ns u m ers p ur c h as e d o n

St o c k X f or m a n y r e as o ns h a vi n g n ot hi n g t o d o wit h St o c k X’s a d v ertisi n g cl ai ms. 5 6. 1 ¶ ¶ 6 2 5 –

3 0.   Ms. B utl er’s s ur v e y e v al u at e d h o w li k el y a ct u al a n d pr os p e cti v e St o c k X c ust o m ers w er e t o

us e t h e St o c k X pl atf or m wit h, a n d wit h o ut, t h e C h all e n g e d Cl ai ms; h er r es ults est a blis h t h at “t h e

all e g e dl y f als e A ut h e nti c ati o n St at e m e nts d o n ot h a v e a m at eri al i m p a ct o n c o ns u m ers’




                                                                       18
Case 1:22-cv-00983-VEC   Document 298   Filed 11/05/24   Page 24 of 31
        Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24               Page 25 of 31




           T his c o n cl usi o n is b uttr ess e d f urt h er b y a n a ct u al St o c k X c ust o m er w h o pr o vi d e d

t esti m o n y i n t his c as e, R o y Ki m.        Mr. Ki m t estifi e d t h at, pri or t o r e c ei vi n g all e g e dl y c o u nt erf eit

s h o es, t h e r e as o ns h e us e d St o c k X i nst e a d of c o m p eti n g pl atf or ms li k e e B a y or G O A T w er e

c o m pl et el y u nr el at e d t o St o c k X’s a d v ertisi n g cl ai ms.       Mr. Ki m t estifi e d St o c k X w as t h e “ m ai n

pl atf or m ” h e us e d b e c a us e “ St o c k X off er e d t h e b est pri c es ” a n d “ dis c o u nts o n s hi p pi n g. ” 5 6. 1

¶ 4 4 9.    M or e s p e cifi c all y, h e us e d St o c k X “s o m u c h m or e ” t h a n ot h er r es al e pl atf or ms b e c a us e

h e “ pr ef er[s] t h e b u yi n g e x p eri e n c e ” of St o c k X, t h at it is “ c h e a p er t o b u y o n St o c k X r el ati v e t o .

. . ot h er pl atf or ms, ” t h at St o c k X h as a b ett er “ a p p e x p eri e n c e, ” t h at St o c k X all o ws hi m t o “s et a

bi d pri c e ” t h at t h e s ell er c a n c h o os e t o m at c h, t h at t h e “ c ust o m er e x p eri e n c e ” o n St o c k X is

“ m or e r es p o nsi v e t h a n b ot h e B a y a n d G O A T, ” a n d t h at St o c k X m a k es r et ur ns “ e as y. ” 5 6. 1 ¶ ¶

4 4 8 – 5 5. T his ali g ns wit h ot h er p ot e nti al St o c k X c ust o m ers’ r es p o ns es t o Ms. B utl er’s s ur v e y.

S e e 5 6. 1 ¶ ¶ 6 2 6 – 3 0.

           Mr. Ki m als o e x pl ai n e d t h at r es al e c o ns u m ers w er e u nli k el y t o c o nsi d er t h e C h all e n g e d

Cl ai ms m at eri al b e c a us e “[ a]s s n e a k er h e a ds, w e’r e c o n diti o n e d t o t hi n k t h at a n y s h o e[] . . .

c o ul d b e f a k e t h at c o m es t hr o u g h t h es e pl atf or ms. ” 5 6. 1 ¶ 5 0 2 ( e x pl ai ni n g t h at “ as a s n e a k er

r es ell er, w e c a n n e v er b e a h u n dr e d p er c e nt s ur e of t h e a ut h e nti cit y of t h e s h o e ”); s e e als o 5 6. 1

¶ ¶ 4 9 8 – 5 0 1. 5 If t h e r el e v a nt c o ns u m er p o p ul ati o n w as alr e a d y li k el y t o l o o k s k e pti c all y at

St o c k X’s a d v ertisi n g cl ai ms, t o t h e e xt e nt t h e y c o nsi d er e d t h e m at all, it is n ot s ur prisi n g t h at

n o n e of t h e r e c or d e vi d e n c e d e m o nstr at es t h os e cl ai ms w er e m at eri al. S e e R e e d C o nst. D at a

I n c., 4 9 F. S u p p. 3 d at 4 1 8 ( affir mi n g s u m m ar y j u d g m e nt w h er e “ n o r e as o n a bl e j ur y c o ul d

5
         Mr. Ki m’s p ur c h asi n g b e h a vi or aft er St o c k X r e m o v e d virt u all y all of t h e C h all e n g e d
      Cl ai ms — a n d aft er Mr. Ki m r e c ei v e d all e g e dl y c o u nt erf eit s h o es fr o m St o c k X — u n d ers c or es
      t h at h e di d n ot c o nsi d er St o c k X’s a d v ertisi n g t o b e m at eri al. Aft er r et ur ni n g his p ur c h as es
      t o St o c k X f or a f ull r ef u n d, Mr. Ki m c o nti n u e d t o visit St o c k X’s pl atf or m “[ d] ail y, ”
      t estif yi n g t h at h e “ c urr e ntl y m a k e[s] p ur c h as es t hr o u g h St o c k X, ” a n d t h at o v er 9 0 % of his
      o n g oi n g p ur c h as es o n St o c k X c o nti n u e t o b e Ni k e s h o es. 5 6. 1 ¶ 4 5 7.



                                                                      20
        Case 1:22-cv-00983-VEC                        Document 298                Filed 11/05/24              Page 26 of 31




c o n cl u d e t h at a n y f als e or misl e a di n g st at e m e nts w er e m at eri al t o c o ns u m ers’ p ur c h asi n g

d e cisi o ns ”).

I V.         N o n e of St o c k X’s A d v e rtisi n g C a us e d A n y I nj u r y t o Ni k e.

            All of Ni k e’s f als e a d v ertisi n g cl ai ms s h o ul d als o b e dis miss e d f or t h e i n d e p e n d e nt

r e as o n t h at Ni k e c a n n ot pr o v e i nj ur y, a r e q uir e d el e m e nt of L a n h a m A ct f al s e a d v ertisi n g cl ai ms.

S e e, e. g. , C h ur c h & D wi g ht, 8 4 3 F. 3 d at 6 5.

            “ T o i n v o k e t h e L a n h a m A ct’s c a us e of a cti o n f or f als e a d v ertisi n g, a pl ai ntiff m ust pl e a d

( a n d ulti m at el y pr o v e) a n i nj ur y t o a c o m m er ci al i nt er est i n s al es or b usi n ess r e p ut ati o n

pr o xi m at el y c a us e d b y t h e d ef e n d a nt’s misr e pr es e nt ati o ns. ” L e x m ar k I nt’l, I n c. v. St ati c C o ntr ol

C o m p o n e nts, I n c. , 5 7 2 U. S. 1 1 8, 1 4 0 ( 2 0 1 4). I n t h e S e c o n d Cir c uit, alt h o u g h “ a pr es u m pti o n of

i nj ur y m a y aris e w h e n a n a d v ertis e m e nt m a k es f als e cl ai ms a b o ut a dir e ct c o m p etit or, ” w h er e “ a

misl e a di n g a d v ertis e m e nt d o es n ot m a k e c o m p ar ati v e cl ai ms a b o ut a dir e ct c o m p etit or, a

pl ai ntiff m ust d e m o nstr at e a ct u al i nj ur y a n d c a us ati o n. ” D e p e n d a bl e S al es & S er vi c e, I n c. v.

Tr u e C ar, I n c. , 3 9 4 F. S u p p. 3 d 3 6 8, 3 7 4 ( S. D. N. Y. 2 0 1 9); s e e als o, e. g., i d. at 3 4 5 – 4 8 ( c oll e cti n g

c as es).

            Ni k e will n ot b e a bl e t o est a blis h a pr es u m pti o n of i nj ur y b e c a us e n o n e of St o c k X’s

all e g e dl y f als e cl ai ms w as a c o m p ar ati v e cl ai m t h at w as pr es u m pti v el y m or e li k el y t o i nj ur e Ni k e

t h a n t h e m ulti pl e ot h er r es al e pl atf or ms t h at c o m p et e wit h St o c k X. 5 6. 1 ¶ ¶ 6 6 5 – 6 6. N or will

Ni k e b e a bl e t o pr o v e a ct u al i nj ur y or c a us ati o n. Ni k e’s R ul e 3 0( b)( 6) c or p or at e r e pr es e nt ati v e,

B ar b ar a D elli C ar pi ni,

                                                                         as t h e S u pr e m e C o urt’s d e cisi o n i n L e x m ar k

r e q uir es. 5 6. 1 ¶ ¶ 6 5 4 – 6 1.




                                                                    21
        Case 1:22-cv-00983-VEC                         Document 298                 Filed 11/05/24              Page 27 of 31




           A.          Ni k e Is N ot E ntitl e d t o a P r es u m pti o n of I nj u r y.

           S e c o n d Cir c uit c o urts h a v e “ e x pr essl y disf a v or e d pr es u m pti o ns of h ar m i n c as es w h er e

… t h e d ef e n d a nt’s a d v ertis e m e nts m a k e n o dir e ct r ef er e n c e t o a n y c o m p etit or’s pr o d u cts. ”

Ort h o P h ar m. C or p. v. C os pr o p h ar, I n c. , 3 2 F. 3 d 6 9 0, 6 9 6 ( 2 d Cir. 1 9 9 4); s e e als o M c N eil a b,

I n c. v. A m. H o m e Pr o ds. C or p., 8 4 8 F. 2 d 3 4, 3 8 ( 2 d Cir. 1 9 8 8); J o h ns o n & J o h ns o n v. C art er-

W all a c e, I n c. , 6 3 1 F. 2 d 1 8 6, 1 9 0 ( 2 d Cir. 1 9 8 0). As t h e c o urt e x pl ai n e d i n M c N eil a b, I n c. , w hil e

“ [ a] misl e a di n g c o m p aris o n t o a s p e cifi c c o m p eti n g pr o d u ct n e c ess aril y di mi nis h es t h at

pr o d u ct’s v al u e i n t h e mi n ds of t h e c o ns u m er, ” a cl ai m t h at “ m a k es n o dir e ct r ef er e n c e t o a n y

c o m p etit or’s pr o d u ct ” d o es n ot s u p p ort a pr es u m pti o n b e c a us e a n y p ot e nti al i nj ur y “ a c cr u es

e q u all y t o all c o m p etit ors; n o n e is m or e li k el y t o s uff er fr o m t h e off e n di n g [ cl ai ms] t h a n a n y

ot h er. ” 8 4 8 F. 2 d at 3 8.

           St o c k X h as m ulti pl e c o m p etit ors i n t h e s n e a k er r es al e m ar k et. S e e s u pr a at p. 4. Ni k e is

n ot o n e of t h e m. 5 6. 1 ¶ ¶ 6 6 7 – 8 6. N or d o es Ni k e vi e w St o c k X as a c o m p etit or. 5 6. 1 ¶ ¶ 6 7 7 – 7 8,

6 8 0, 6 8 2, 6 8 6.     Ms. C ar pi ni t estifi e d o n b e h alf of Ni k e t h at Ni k e’s c o m p etit ors ar e “ A di d as,

P u m a, U n d er Ar m o ur[], [ a n d] a n u m b er of s p orti n g g o o d[s] c o m p a ni es, ” b ut s h e di d n ot n a m e

St o c k X ( or a n y ot h er r es al e m ar k et). 5 6. 1 ¶ ¶ 6 8 0, 6 8 6 (listi n g si mil ar dir e ct c o m p etit ors).

           St o c k X’s ar g u m e nt is n ot pr e mis e d o n t h e iss u e of c o m p etiti o n, t h o u g h. R at h er, Ni k e is

n ot e ntitl e d t o a pr es u m pti o n of i nj ur y —r e g ar dl ess of w h et h er Ni k e a n d St o c k X c o m p et e —

b e c a us e n o n e of t h e C h all e n g e d Cl ai ms w as a c o m p ar ati v e cl ai m. I n E nz y m ot e c Lt d. v. N B T Y,

I n c., f or e x a m pl e, t h e c o urt gr a nt e d t h e d ef e n d a nt s u m m ar y j u d g m e nt n ot wit hst a n di n g t h e

e xist e n c e of a tri a bl e iss u e of f a ct as t o w h et h er t h e p arti es w er e i n dir e ct c o m p etiti o n, n oti n g t h at

t h e pr es u m pti o n of i nj ur y r e q uir es “ dir e ct c o m p etiti o n c o u pl e d wit h a f als e a d v ertisi n g cl ai m

b as e d o n c o m p ar ati v e a d v ertisi n g , ” a n d fi n di n g t h at t h e c as e di d n ot i n v ol v e c o m p ar ati v e cl ai ms

a n d t h e pl ai ntiff h a d n ot s u b mitt e d “‘s p e cifi c e vi d e n c e t h at t h e d ef e n d a nt’s a d v ertisi n g c a us es


                                                                     22
        Case 1:22-cv-00983-VEC                           Document 298              Filed 11/05/24               Page 28 of 31




dir e ct h ar m t o t h e pr o d u ct i n w hi c h t h e pl ai ntiff cl ai ms a p e c u ni ar y i nt er est.’ ” 7 5 4 F. S u p p. 2 d

5 2 7, 5 4 5 – 4 7 ( E. D. N. Y. 2 0 1 0) ( e m p h as es a d d e d) ( q u oti n g P D K L a bs, I n c. v. Fri e dl a n d er , 1 0 3

F. 3 d 1 1 0 5, 1 1 1 2 – 1 3 ( 2 d Cir. 1 9 9 7)).

           N o n e of t h e C h all e n g e d Cl ai ms m a d e c o m p aris o ns t o pr o d u cts Ni k e w as s elli n g w h e n

St o c k X m a d e t h e cl ai ms. 5 6. 1 ¶ ¶ 5 7 6 – 7 7, 6 6 5 – 6 6. T h e A ut h e nti c ati o n Pr o c ess Cl ai ms di d n ot

m a k e a n y r ef er e n c e t o Ni k e or its pr o d u cts. 5 6. 1 ¶ ¶ 5 7 7, 6 6 5 – 6 6.      W hil e St o c k X m a d e t h e

A ut h e nti cit y Cl ai ms a b o ut s p e cifi c p airs of s h o es b ei n g s ol d o n its pl atf or m, t h e cl ai ms di d n ot

c o m p ar e St o c k X t o Ni k e or r ef er t o a n y s p e cifi c p air of s h o es Ni k e w as s elli n g. I d. T h er e is t h us

n o b a sis t o pr es u m e t h e y w er e m or e li k el y t o c a us e i nj ur y t o Ni k e t h a n t o St o c k X’s c o m p etit ors

i n t h e r es al e m ar k et. E v e n if t h er e w er e a n y e vi d e n c e t h at t h e C h all e n g e d Cl ai ms i n cr e as e d

St o c k X’s s al es ( w hi c h t h er e is n ot), t h er e w o ul d b e n o r e as o n t o pr es u m e t h os e i n cr e as e d s al es

c a m e at t h e e x p e ns e of Ni k e r at h er t h a n G O A T or St o c k X’s ot h er r es al e m ar k et c o m p etit ors,

w h o w o ul d h a v e b e e n m or e li k el y t h a n Ni k e t o m a k e t h os e s al es if St o c k X h a d n ot m a d e t h e m.

T h e c o urt’s r e as o ni n g i n D e p e n d a bl e S al es & S er vi c e, I n c. 3 7 7 F. S u p p. 3 d at 3 4 9, a p pli es

e q u all y h er e:

           I n t h e m ar k et of a n y . . . pl ai ntiff- d e al er, t h er e ar e m ulti pl e d e al ers hi ps, a n d
           m ulti pl e t hir d- p art y m ar k eti n g pl atf or ms t h at e xist o nli n e a n d offli n e. A s al e m a d e
           t hr o u g h Tr u e C ar is n ot n e c ess aril y a s al e l ost b y a pl ai ntiff d e al ers hi p, as o p p os e d
           t o s o m e ot h er c o m p eti n g d e al ers hi p i n t h e s a m e m ar k et. H er e, b e c a us e Tr u e C ar
           a n d t h e pl ai ntiffs ar e “ n ot o b vi o usl y i n dir e ct c o m p etiti o n ” a n d Tr u e C ar’s
           a d v ertis e m e nts m a k e “ n o dir e ct r ef er e n c e ” t o t h e pl ai ntiff d e al ers hi ps, t h er e is n o
           pr es u m pti o n of h ar m t o t h e pl ai ntiffs.

           B.             Ni k e C a n n ot P r o v e A ct u al I nj u r y.

           Ni k e’s t esti m o n y t hr o u g h its R ul e 3 0( b)( 6) c or p or at e r e pr es e nt ati v e est a blis h es t h at

                                                .   Ms. C ar pi ni t estifi e d o n b e h alf of Ni k e wit h r es p e ct t o “ all h ar m

t o Ni k e st e m mi n g fr o m Ni k e’s c a us es of a cti o n i n t his c as e. ” 5 6. 1 ¶ 6 5 5. H er t esti m o n y

est a blis h e d t h at


                                                                       23
        Case 1:22-cv-00983-VEC                         Document 298                  Filed 11/05/24               Page 29 of 31




                                                                                        ot h er t h a n

                                                    and

                                                                5 6. 1 ¶ 6 5 6. Ni k e is



                                 5 6. 1 ¶ 6 5 9. N or is Ni k e “

                                                                                                                        . ” 5 6. 1 ¶ 6 5 8.

           Ni k e’s ass erti o ns of i nj ur y t h us c o nsist e ntir el y of s p e c ul ati o n a b o ut h o w Ni k e c o ul d

t h e or eti c all y b e h ar m e d g e n er all y b y c o u nt erf eit Ni k e s n e a k ers. Ni k e h as n ot i ntr o d u c e d a n y

e vi d e n c e s h o wi n g t h at s u c h h ar m a ct u all y o c c urr e d or w as pr o xi m at el y c a us e d b y St o c k X’s

a d v ertisi n g. 5 6. 1 ¶ ¶ 6 3 6 – 5 3. Ni k e’s s p e c ul ati o n t h at it c o ul d b e h ar m e d if St o c k X

                                                                                        ” and “

                                                                 ” 5 6. 1 ¶ 6 6 1, ar e i ns uffi ci e nt t o m e et Ni k e’s b ur d e n

of pr o of.     Ms. C ar pi ni

                                      5 6. 1 ¶ 6 5 6 ( “



                                                                        . ”).

           S u c h g e n eri c a n d u ns p e cifi c o pi ni o ns ar e i ns uffi ci e nt t o est a blis h i nj ur y u n d er t h e

L a n h a m A ct. I n S o uz a v. E x oti c Isl a n d E nt ers., I n c., f or e x a m pl e, t h e S e c o n d Cir c uit h el d t h at

t h e pl ai ntiffs’ cl ai ms “t h at t h e y m a y h a v e l ost o ut o n w or k o p p ort u niti es … w o ul d li k el y s atisf y

L e x m ar k’s r e q uir e m e nts, if o nl y t h er e w er e a n y e vi d e n c e t h at s u c h a n i nj ur y a ct u all y o c c urr e d

i n t his c as e. ” 6 8 F. 4t h 9 9, 1 1 9 – 2 0 ( 2 d Cir. 2 0 2 3). B ut t h e S e c o n d Cir c uit u p h el d s u m m ar y

j u d g m e nt f or t h e d ef e n d a nt b e c a us e “t h er e is n o e vi d e n c e t h at a n yt hi n g of t h e s ort a ct u all y




                                                                       24
        Case 1:22-cv-00983-VEC                          Document 298                Filed 11/05/24               Page 30 of 31




h a p p e n e d. ” I d. at 1 1 9 – 2 0. T h e c o urt i n D e p e n d a bl e S al es & S er v., I n c. , si mil arl y gr a nt e d

s u m m ar y j u d g m e nt t o t h e d ef e n d a nt o n i nj ur y c a us ati o n w h er e “[ n] o n e of t h e f o ur wit n ess es

d es cri b e d a n i n ci d e nt w h er e t h e y k n e w of a n a ct u al s al e l ost t o a Tr u e C ar- affili at e d d e al ers hi p . .

. [ or] e vi d e n c e of h ar m t o t h e b usi n ess r e p ut ati o n of t h eir r es p e cti v e d e al ers hi ps. ” 3 7 7 F. S u p p.

3 d at 3 5 3. T h e c o urt f o u n d t h at “t h e t esti m o n y off er e d b y pl ai ntiffs d es cri b es wit n ess es’

p er c e pti o ns of t h e a ds’ f als e n ess a n d w h y t h e f als e st at e m e nts c o ul d b e m at eri al t o c o ns u m ers’

b u yi n g c h oi c es, b ut t h e y d o n ot i d e ntif y dis c er n a bl e i nj ur y t o t h e d e al ers hi ps li n k e d t o Tr u e C ar’s

a d v ertis e m e nts. ” I d. ( e m p h asis a d d e d).

            B e c a us e Ni k e c a n n ot est a blis h eit h er a ct u al i nj ur y or e ntitl e m e nt t o a pr es u m pti o n of

i nj ur y as r e q uir e d u n d er t h e L a n h a m A ct, its f als e a d v ertisi n g cl ai ms s h o ul d b e dis miss e d.

                                                            C O N C L U SI O N

            F or t h e f or e g oi n g r e as o ns, t his C o urt s h o ul d gr a nt St o c k X’s m oti o n a n d dis miss Ni k e’s

f als e a d v ertisi n g cl ai m i n its e ntir et y.

D at e d:             N e w Y or k, N e w Y or k
                      A u g ust 8, 2 0 2 4

                                                        B y: /s/ M e g a n K. B a n ni g a n
                                                        D E B E V OI S E & P LI M P T O N L L P
                                                        M e g a n K. B a n ni g a n ( m k b a n ni g a n @ d e b e v ois e. c o m)
                                                        D a vi d H. B er nst ei n ( d h b er nst ei n @ d e b e v ois e. c o m)
                                                        J y oti n H a mi d (j h a mi d @ d e b e v ois e. c o m)
                                                        C arl Ri e hl ( cri e hl @ d e b e v ois e. c o m)
                                                        K at hr y n C. S a b a ( ks a b a @ d e b e v ois e. c o m)
                                                        6 6 H u ds o n B o ul e v ar d
                                                        N e w Y or k, N e w Y or k 1 0 0 0 1
                                                        ( 2 1 2) 9 0 9- 6 0 0 0

                                                        C hrist o p h er S. F or d ( csf or d @ d e b e v ois e. c o m)
                                                        D E B E V OI S E & P LI M P T O N L L P
                                                        6 5 0 C alif or ni a Str e et
                                                        S a n Fr a n cis c o, C alif or ni a 9 4 1 0 8
                                                        ( 4 1 5) 7 3 8- 5 7 0 0

                                                        KI L P A T RI C K T O W N S E N D & S T O C K T O N L L P


                                                                      25
Case 1:22-cv-00983-VEC   Document 298               Filed 11/05/24             Page 31 of 31




                         R o b ert N. P ott er (r p ott er @ kil p atri c kt o w ns e n d. c o m)
                         Bri g gs Wri g ht ( bri g gs. wri g ht @ kil p atri c kt o w ns e n d. c o m)
                         1 1 1 4 A v e n u e of t h e A m eri c as
                         N e w Y or k, N e w Y or k 1 0 0 3 6
                         ( 2 1 2) 7 7 5- 8 7 0 0

                         M OR G A NR OT H & M OR G A NR OT H PLLC
                         J effr e y B. M or g a nr ot h (j m or g a nr ot h @ m or g a nr ot hl a w. c o m)
                         3 4 4 N. Ol d W o o d w ar d A v e., # 2 0 0
                         Bir mi n g h a m, MI 4 8 0 7 5
                         ( 2 4 8) 8 6 4- 4 0 0 0

                         Att or n e ys f or D ef e n d a nt St o c k X L L C




                                       26
